Case 2:17-cv-00699-BRM-RLS        Document 731-10           Filed 02/20/24   Page 1 of 82
                                   PageID: 31239



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                        UNITED STATES DISTRICT COURT
                           DISTRICT OF NEW JERSEY


                                              Civil Action No. 2:17-cv-00699
                                              (BRM)(ESK)
I N RE I NSULIN P RICING L ITIGATION




                 PLAINTIFFS’ REPLY BRIEF IN SUPPORT OF THEIR
                      MOTION FOR CLASS CERTIFICATION




 010646-11/2030303 V1
 Case 2:17-cv-00699-BRM-RLS                        Document 731-10              Filed 02/20/24          Page 2 of 82
                                                    PageID: 31240




                                          TABLE OF CONTENTS

I.         INTRODUCTION .......................................................................................... 1

II.        LEGAL ARGUMENT ..................................................................................... 3

A.         COMMON ISSUES PREDOMINATE FOR CLASSES
           SEEKING RELIEF FOR “UNFAIR PRACTICES.” ....................................... 3

           1.        The class members belong to a captive market, so
                     common issues predominate as to whether they could
                     reasonably avoid the harm. ..................................................................... 3

           2.        The defendants cannot avoid certification by speculating
                     about “pass-through benefits” to gin up individual issues
                     as to substantial injury. ........................................................................... 7

           3.        The defendants’ subjective belief as to the moral
                     culpability of the PBMs does not create an individualized
                     issue as to legal causation. ....................................................................... 8

           4.        Whether countervailing benefits exist and outweigh the
                     harm is a common issue. ...................................................................... 10

B.         COMMON ISSUES PREDOMINATE FOR THE
           UNCONSCIONABILITY THEORY. ........................................................... 11

           1.        New Jersey unconscionability class. ...................................................... 12

           2.        Texas unconscionability class. .............................................................. 13

           3.        Kansas unconscionability class. ............................................................ 13

           4.        Utah unconscionability class. ............................................................... 14

C.         A NATIONWIDE CLASS SHOULD BE CERTIFIED. .............................. 14

D.         THE PROPOSED MULTI-STATE CLASSES SHOULD BE
           CERTIFIED. .................................................................................................. 19



                                                              -i-
      010646-11/2030303 V1
 Case 2:17-cv-00699-BRM-RLS                        Document 731-10                Filed 02/20/24           Page 3 of 82
                                                    PageID: 31241



          1.        The three-part “substantial injury” test for unfairness
                    applies under the laws of all 16 states at issue. ..................................... 21

          2.        Other state-law elements cited by the defendants do not
                    preclude certification of the multi-state classes..................................... 25

                    a.       Scienter does not present individualized issues. ........................ 26

                    b.       Questions of proximate causation are common. ....................... 26

                    c.       Issues concerning statutes of limitations and accrual
                             do not present individual questions. ......................................... 28

                    d.       The “other state-specific issues” identified by the
                             defendants do not preclude certification. .................................. 32

          3.        Any “ascertainable loss” requirement does not bar
                    certification. .......................................................................................... 36

E.        THE PLAINTIFFS’ DAMAGES MODEL RELIABLY
          MEASURES CLASS-WIDE INJURY AND DAMAGES. ............................ 38

          1.        Dr. Rosenthal’s structural break method reliably measures
                    when the class period begins by analyzing the effects of
                    defendants’ conduct.............................................................................. 38

          2.        Class action plaintiffs routinely use averages to prove
                    damages, as plaintiffs validly do here. ................................................... 40

          3.        Benefit-of-the-bargain damages do not require the
                    plaintiffs to suffer an ascertainable loss as a result of
                    deception; it suffices that plaintiffs suffered an
                    ascertainable loss as a result of an unconscionable act. ........................ 42

F.        THE PLAINTIFFS USE A WEALTH OF DETAILED PBM
          AND PHARMACY TRANSACTIONAL DATA TO IDENTIFY
          THE CLASS MEMBERS. .............................................................................. 44

          1.        Defendants mischaracterize the Third Circuit’s
                    ascertainability requirements. ............................................................... 46



                                                               - ii -
     010646-11/2030303 V1
 Case 2:17-cv-00699-BRM-RLS                       Document 731-10               Filed 02/20/24           Page 4 of 82
                                                   PageID: 31242



          2.        Dr. Rosenthal can remove class members who used
                    manufacturer coupons and need not remove class
                    members who used pharmacy coupons. ............................................... 49

          3.        The plaintiffs proposed methods of ascertaining the class
                    meet the Third Circuit’s requirement. ................................................. 50

          4.        Price differences have nothing to do with ascertainability. .................. 52

G.        CLASS CERTIFICATION IS A SUPERIOR MEANS OF
          RESOLVING THE CLAIMS. ....................................................................... 53

H.        PLAINTIFFS SATISFY RULE 23(A). ........................................................... 57

          1.        The question concerning the lawfulness of the defendants’
                    “undisputed” conduct alone satisfies commonality. ............................ 57

          2.        Victims of an excessive overcharge who trace their injuries
                    to the same practice are both typical and adequate class
                    representatives....................................................................................... 59

I.        A RULE 23(B)(2) CLASS SHOULD BE CERTIFIED. ................................ 61

III.      CONCLUSION ............................................................................................. 63




                                                             - iii -
     010646-11/2030303 V1
 Case 2:17-cv-00699-BRM-RLS                    Document 731-10             Filed 02/20/24         Page 5 of 82
                                                PageID: 31243



                                       TABLE OF AUTHORITIES

                                                                                                           Page(s)
                                                      CASES

In re Accutane Litig.,
    235 N.J. 229 (2018) .................................................................................. 15, 16, 17

In re Actiq Sales & Mktg. Pracs. Litig.,
    307 F.R.D. 150 (E.D. Pa. 2015) ........................................................................... 54

Adams Pointe I, L.P. v. Tru-Flex Metal Hose Corp,
  2021 WL 3612155 (3d Cir. Aug. 16, 2021)......................................................... 20

Afzal v. BMW of N. Am., LLC,
   2020 WL 2786926 (D.N.J. May 29, 2020) ........................................................... 47

Agostino v. Quest Diagnostics Inc.,
   256 F.R.D. 437 (D.N.J. 2009) .............................................................................. 31

Akins v. Firstbank, N.A.,
   415 A.2d 567 (Me. 1980) ..................................................................................... 29

Albaugh v. The Reserve,
   930 N.W.2d 676 (Iowa 2019) .............................................................................. 23

Amato v. Subaru of Am., Inc.,
  2021 WL 2154976 (D.N.J. May 27, 2021) ........................................................... 34

AMC W. Hous. LP v. NIBCO, Inc.,
  2019 WL 4491331 (W.D. Okla. Sept. 18, 2019) ................................................. 30

Andren v. Alere, Inc.,
  2017 WL 6509550 (S.D. Cal. Dec. 20, 2017) ...................................................... 33

In the Matter of Apple Inc.,
    2014 WL 1330287 (FTC Mar. 25, 2014)............................................................... 4

Arch Ins. Co. v. Precision Stone, Inc.,
   584 F.3d 33 (2d Cir. 2009) .................................................................................... 7


                                                         - iv -
   010646-11/2030303 V1
 Case 2:17-cv-00699-BRM-RLS                    Document 731-10             Filed 02/20/24          Page 6 of 82
                                                PageID: 31244



Arch v. Am. Tobacco Co.,
   175 F.R.D. 469 (E.D. Pa. 1997) ........................................................................... 57

Ass’n for Accessible Meds. v. Frosh,
   887 F.3d 664 (4th Cir. 2018) ............................................................................... 62

Astellas Inst. for Regenerative Med. v. ImStem Biotechnology, Inc.,
   458 F. Supp. 3d 95 (D. Mass. 2020)..................................................................... 30

Barnes v. Am. Tobacco Co.,
   161 F.3d 127 (3d Cir. 1998) ................................................................................ 31

BlackRock Balanced Cap. Portfolio (FI) v. Deutsche Bank Nat’l Tr. Co.,
   2018 WL 5619957 (S.D.N.Y. Aug. 7, 2018) ........................................................ 43

Boley v. Univ. Health Servs., Inc.,
   36 F.4th 124 (3d Cir. 2022) ..................................................................... 59, 60, 61

BP Am. Prod. Co. v. Patterson,
   263 P.3d 103 (Colo. 2011) ................................................................................... 28

In re Broiler Chicken Antitrust Litig.,
    2022 WL 1720468 (N.D. Ill. May 27, 2022) ....................................................... 38

Bumpers v. Cmty. Bank of N. Va.,
  367 N.C. 81 (2013)............................................................................................... 23

Byrd v. Aaron’s Inc.,
   784 F.3d 154 (3d Cir. 2015) .................................................................... 46, 47, 51

Cadco, Ltd. v. Doctor’s Ass’ns, Inc.,
  204 A.3d 737 (Conn. Ct. App. 2019) .................................................................... 8

Cain v. Midland Funding, LLC,
   256 A.3d 765 (Md. 2021) ..................................................................................... 30

Carr v. Flowers Foods, Inc.,
   2019 WL 2027299 (E.D. Pa. May 7, 2019) .......................................................... 63

In re Cathode Ray Tube (CRT) Antitrust Litig.,
    308 F.R.D. 606 (N.D. Cal. 2015) ......................................................................... 40


                                                          -v-
   010646-11/2030303 V1
 Case 2:17-cv-00699-BRM-RLS                     Document 731-10              Filed 02/20/24         Page 7 of 82
                                                 PageID: 31245



CFPB v. D & D Mktg.,
  2016 WL 8849698 (C.D. Cal. Nov. 17, 2016) ...................................................... 4

Cheramie Servs., Inc. v. Shell Deepwater Prod., Inc.,
   35 So. 3d 1053 (La. 2010) .................................................................................... 27

Chin v. Chrysler Corp.,
   182 F.R.D. 448 (D.N.J. 1998) .............................................................................. 54

City Select Auto Sales v. BMW Bank of N. Am., Inc.,
   867 F.3d 434 (3d Cir. 2017) ................................................................................ 45

In re Cmty. Bank of N. Va. Mortg. Lending Pracs. Litig.,
    795 F.3d 380 (3d Cir. 2015) .............................................................. 31, 53, 55, 59

Cmty. Fin. Servs. Ass’n of Am., Ltd. v. Consumer Fin. Prot. Bureau,
  558 F. Supp. 3d 350 (W.D. Tex. 2021) .................................................................. 5

Cotte v. CVI SGP Acquisition Tr.,
   2022 WL 464307 (D. Utah Feb. 15, 2022).......................................................... 14

Cotten v. Wilson,
   576 S.W.3d 626 (Tenn. 2019) ............................................................................. 28

Counts v. Gen. Motors, LLC,
  2022 WL 2079757 (E.D. Mich. June 9, 2022)..................................................... 35

Cox v. Sears Roebuck & Co.,
   647 A.2d 454 (N.J. 1994) ..................................................................................... 12

D’Agostino v. Maldonado,
   216 N.J. 168 (2013) .............................................................................................. 43

Dal Ponte v. Am. Mortg. Express Corp.,
   2006 WL 2403982 (D.N.J. Aug. 17, 2006) .......................................................... 18

Debra F. Fink, D.M.D., MS, PC v. Ricoh Corp.,
   839 A.2d 942 (N.J. Super. Ct. Law. Div. 2003) ................................................... 27

Deibler v. SanMedica Int’l, LLC,
   2021 WL 6198062 (D.N.J. Dec. 30, 2021) ............................................................ 6


                                                          - vi -
   010646-11/2030303 V1
 Case 2:17-cv-00699-BRM-RLS                     Document 731-10              Filed 02/20/24         Page 8 of 82
                                                 PageID: 31246



In re Disposable Contact Lens Antitrust,
    329 F.R.D. 336 (M.D. Fla. 2018) ......................................................................... 40

In re Domestic Drywall Antitrust Litig.,
    2017 WL 3700999 (E.D. Pa. Aug. 24, 2017) ....................................................... 63

Downing v. Abercrombie & Fitch,
  265 F.3d 994 (9th Cir. 2001) ............................................................................... 15

Eisen v. Carlisle & Jacquelin,
    417 U.S. 156 (1974) ............................................................................................. 53

Elias v. Ungar’s Food Prods.,
    252 F.R.D. 233 (D.N.J. 2008) .............................................................................. 18

Elward v. Electrolux Home Prod., Inc.,
   264 F. Supp. 3d 877 (N.D. Ill. 2017) (IN) ........................................................... 29

In re EpiPen Litig.,
    2020 WL 1180550 (D. Kan. Mar. 10, 2020) ............................................. 8, 25, 62

Ferreras v. Am. Airlines, Inc.,
   946 F.3d 178 (3d Cir. 2019) ................................................................................ 59

In re Ford Motor Co. E-350 Van Prods. Liab. Litig. (No. II),
    2012 WL 379944 (D.N.J. Feb. 6, 2012) ............................................................... 31

Frederick v. S. Star Cent. Gas Pipeline, Inc.,
   2011 WL 3880902 (D. Kan. Sept. 2, 2011) ......................................................... 14

FTC v. Amazon.com, Inc.,
  2016 WL 10654030 (W.D. Wash. July 22, 2016) ................................................. 4

FTC v. Direct Benefits Grp.,
  LLC, 2013 WL 3771322 (M.D. Fla. July 18, 2013) ............................................... 4

FTC v. Elec. Payment Sols. of Am. Inc.,
  482 F. Supp. 3d 921 (D. Ariz. 2020) ...................................................................... 4

FTC v. Neovi, Inc.,
  604 F.3d 1150 (9th Cir. 2010) ............................................................................... 4


                                                          - vii -
   010646-11/2030303 V1
 Case 2:17-cv-00699-BRM-RLS                   Document 731-10            Filed 02/20/24        Page 9 of 82
                                               PageID: 31247



FTC v. Wyndham Worldwide Corp.,
  799 F.3d 236 (3d Cir. 2015) ................................................................................ 21

Fu v. Fu,
   160 N.J. 108 (1999) ............................................................................ 16, 17, 18, 19

Garr v. City of Ottumwa,
  846 N.W.2d 865 (Iowa 2014) .............................................................................. 26

Gasbi, LLC v. Sanders,
  120 N.E.3d 614 (Ind. Ct. App. 2019) .................................................................. 33

Gates v. Rohm & Haas Co.,
  655 F.3d 255 (3d Cir. 2011) ................................................................................ 63

Goodwin v. Yeakle’s Sports Bar & Grill, Inc.,
  62 N.E.3d 384 (Ind. 2016) (IN) ........................................................................... 27

Greco v. Grewal,
   2020 WL 5793709 (D.N.J. Sept. 29, 2020) ......................................................... 59

Hargrove v. Sleepy’s LLC,
  974 F.3d 467 (3d Cir. 2020) .......................................................................... 47, 48

Harnish v. Widener Univ. Sch. of Law,
  833 F.3d 298 (3d Cir. 2016) .......................................................................... 36, 37

Harrell v. BMW of N. Am., LLC,
  517 F. Supp. 3d 527 (D.S.C. 2021) (SC) ............................................................. 29

Harris Cnty. v. Eli Lilly & Co.,
  2022 WL 479943 (S.D. Tex. Feb. 16, 2022) ........................................................ 35

House of Raeford Farms of Louisiana LLC v. Poole,
  2021 WL 1081837 (W.D. La. Mar. 18, 2021) ............................................... 29, 30

Howard v. Wilkes & McHugh, PA,
  2009 WL 10699545 (W.D. Tenn. Apr. 15, 2009) ............................................... 29

Int’l Union of Operating Eng’rs Loc. No. 68 Welfare Fund v. Merck & Co.,
    384 N.J. Super. 275 (App. Div. 2006) .................................................................. 19


                                                       - viii -
   010646-11/2030303 V1
Case 2:17-cv-00699-BRM-RLS                     Document 731-10              Filed 02/20/24         Page 10 of 82
                                                PageID: 31248



Jacobellis v. Ohio,
   378 U.S. 184 (1964) ............................................................................................... 1

Johnson v. GEICO Cas. Co.,
   672 F. App’x 150 (3d Cir. 2016) .......................................................................... 33

Jones v. BMW of N. Am., LLC,
   2020 WL 5752808 (M.D.N.C. Sept. 25, 2020) ............................................. 29, 30

Katz v. Belveron Real Est. Partners, LLC,
   28 F.4th 300 (1st Cir. 2022) ................................................................................. 28

Keith v. Health-Pro Home Care Servs., Inc.,
   873 S.E.2d 567 (N.C. 2022) ................................................................................. 28

Kinseth v. Weil-McLain,
   913 N.W.2d 55 (Iowa 2018)................................................................................. 27

Klaxon v. Stentor Elec. Mfg. Co.,
   313 U.S. 487 (1941) ............................................................................................. 16

Krueger v. Grand Forks Cnty.,
   852 N.W.2d 354 (N.D. 2014) .............................................................................. 28

Kugler v. Romain,
  58 N.J. 522 (1971) ................................................................................................ 12

In re Lamictal Indirect Purchaser & Antitrust Consumer Litig.,
    2018 WL 6567709 (D.N.J. Dec. 12, 2018) .......................................................... 40

Legacy Crossing, L.L.C. v. Travis Wolff & Co., L.L.P.,
   229 F. App’x 672 (10th Cir. 2007)................................................................. 29, 30

Lehman Bros. Holdings, Inc. v. Kee,
   268 A.3d 178 (Del. 2021) ..................................................................................... 29

Lessin v. Ford Motor Co.,
   2021 WL 3810584 (S.D. Cal. Aug. 25, 2021) ..................................................... 33

Leszanczuk v. Carrington Mortg. Servs., LLC,
   21 F.4th 933 (7th Cir. 2021) .................................................................................. 8


                                                          - ix -
   010646-11/2030303 V1
Case 2:17-cv-00699-BRM-RLS                   Document 731-10             Filed 02/20/24        Page 11 of 82
                                              PageID: 31249



In re Linerboard Antitrust Litigation,
    305 F.3d 145 (3d Cir. 2002) .................................................................... 30, 31, 56

Lon Smith & Assocs., Inc. v. Key,
   527 S.W.3d 604 (Tex. App. 2017) ....................................................................... 13

Mahoney v. Wells Fargo Bank, N.A.,
  2022 WL 1446934 (D. Mass. Mar. 25, 2022) ...................................................... 29

Maniscalco v. Brother Int’l (USA) Corp.,
  709 F.3d 202 (3d Cir. 2013) .......................................................................... 15, 16

Masquat v. DaimlerChrysler Corp.,
  195 P.3d 48 (Okla. 2008) ..................................................................................... 29

Mazzanti v. Gen. Elec. Co.,
  2017 WL 923905 (D. Conn. Mar. 7, 2017) ......................................................... 29

McAlister v. Ford Motor Co.,
  2015 WL 4775382 (W.D. Okla. Aug. 13, 2015) ................................................. 36

McGehee v. Forest Oil Corp.,
  908 F.3d 619 (10th Cir. 2018) ............................................................................. 28

McNair v. Synapse Grp.,
  2009 WL 1873582 (D.N.J. June 29, 2009) .......................................................... 10

McPeters v. LexisNexis,
  11 F. Supp. 3d 789 (S.D. Tex. 2014).................................................................... 13

In re Mercedes-Benz Tele Aid Contract Litig.,
    167 F.R.D. 113,151 (D.N.J. 2010) ....................................................................... 17

Montich v. Miele USA, Inc.,
  849 F. Supp. 2d 439 (D.N.J. 2012) ...................................................................... 19

In re Motions to Certify Classes Against Ct. Reporting Firms,
    715 F. Supp. 2d 1265 (S.D. Fla. 2010), aff’d sub nom. Webber v.
    Esquire Deposition Servs., LLC, 439 F. App’x 849 (11th Cir. 2011) ......................... 5




                                                        -x-
   010646-11/2030303 V1
Case 2:17-cv-00699-BRM-RLS                   Document 731-10            Filed 02/20/24        Page 12 of 82
                                              PageID: 31250



Neale v. Volvo Cars of N. Am., LLC,
   794 F.3d 353 (3d Cir. 2015) ................................................................................ 63

Newton v. Merrill Lynch, Pierce, Fenner & Smith, Inc.,
  259 F.3d 154 (3d Cir. 2001) ................................................................................ 56

In re NFL Players Concussion Inj. Litig.,
    821 F.3d 410 (3d Cir. 2016) .................................................................... 53, 58, 59

In re Niaspan Antitrust Litig.,
    464 F. Supp. 3d 678 (E.D. Pa. 2020) ................................................................... 41

In re Niaspan Antitrust Litig.,
    555 F. Supp. 3d 155 (E.D. Pa. 2021) ................................................................... 47

Nieberding v. Barrette Outdoor Living, Inc.,
   302 F.R.D. 600 (D. Kan. 2014) ............................................................................ 13

Nyarko v. BMW of N. Am., LLC,
  2020 WL 1491361 (D. Md. Mar. 27, 2020) ........................................................ 29

Palmieri v. Intervet Inc.,
   2021 WL 2205854 (D.N.J. June 1, 2021) ............................................................ 28

Parrish v. Volkswagen Grp. of Am., Inc.,
   463 F. Supp. 3d 1043 (C.D. Cal. 2020) ............................................................... 33

Pastor v. State Farm Mut. Auto. Ins. Co.,
   487 F.3d 1042 (7th Cir. 2007) ............................................................................. 57

Payne v. FujiFilm U.S.A., Inc.,
   2010 WL 2342388 (D.N.J. May 28, 2010) ........................................................... 54

In re Pepper Prods. Litig.,
    422 F. Supp. 3d 194 (D.D.C. 2019) ..................................................................... 20

Peter G. Milne, P.C. v. Ryan,
   477 S.W.3d 888 (Tex. App. 2015) ....................................................................... 13

In re Pharm. Indus. Average Wholesale Price Litig.,
    230 F.R.D. 61 (D. Mass. 2005)....................................................................... 25, 26


                                                        - xi -
   010646-11/2030303 V1
Case 2:17-cv-00699-BRM-RLS                         Document 731-10                Filed 02/20/24            Page 13 of 82
                                                    PageID: 31251



In re Pharm. Indus. AWP Litig.,
    491 F. Supp. 2d 20 (D. Mass. 2007)..................................................................... 24

Pollard v. AEG Live, LLC,
    2014 WL 4637017 (D.N.J. Sept. 16, 2014) ......................................................... 37

In re Pork Antitrust Litig.,
    495 F. Supp. 3d 753 (D. Minn. 2020) ................................................................. 33

Porsche Cars N. Am., Inc. v. Diamond,
   140 So. 3d 1090 (Fla. Dist. Ct. App. 2014) ..................................................... 6, 21

Powers v. Lycoming Engines,
   328 F. App’x 121 (3d Cir. 2009) .......................................................................... 54

In re Processed Egg Prod. Antitrust Litig.,
    312 F.R.D. 124 (E.D. Pa. 2015) ........................................................................... 62

Quality Env’t Processes, Inc. v. I.P. Petroleum Co.,
  144 So.3d 1011 (La. 2014) ................................................................................... 22

In re Rail Freight Fuel Surcharge Antitrust Litig.,
    292 F. Supp. 3d 14 (D.D.C. 2017), aff’d, 934 F.3d 619 (D.C. Cir.
    2019) ..................................................................................................................... 38

RBC Cap. Mkts., LLC v. Jervis,
  129 A.3d 816 (Del. 2015) ..................................................................................... 27

Remick v. City of Phil.,
   2022 WL 742707 (E.D. Pa. Mar. 11, 2022) ......................................................... 62

Res. Mgmt. Co. v. Weston Ranch & Livestock Co.,
   706 P.2d 1028 (Utah 1985)............................................................................ 12, 14

Rocky Mountain Planned Parenthood, Inc. v. Wagner,
   467 P.3d 287 (Colo. 2020) ................................................................................... 27

Saika v. Ocwen Loan Servicing, LLC,
   357 F. Supp. 3d 704 (N.D. Ill. 2018) ................................................................... 27




                                                               - xii -
   010646-11/2030303 V1
Case 2:17-cv-00699-BRM-RLS                    Document 731-10             Filed 02/20/24          Page 14 of 82
                                               PageID: 31252



Searles v. Fleetwood Homes of Pa., Inc.,
   878 A.2d 509 (Me. 2005) ..................................................................................... 22

Sheet Metal Workers Loc. 441 Health & Welfare Plan v. GlaxoSmithKline,
   PLC,
   2010 WL 3855552 (E.D. Pa. Sept. 30, 2010) ...................................................... 41

Sheet Metal Workers Loc. 441 Health & Welfare Plan v. GlaxoSmithKline,
   PLC,
   737 F. Supp. 2d 380 (E.D. Pa. 2010) ............................................................. 35, 41

Showpiece Homes Corp. v. Assurance Co. of Am.,
   38 P.3d 47 (Colo. 2001) ....................................................................................... 24

Siegel v. Shell Oil Co.,
    612 F.3d 932 (7th Cir. 2010) ............................................................................. 4, 9

Simmons v. Ford Motor Co.,
   2022 WL 845127 (S.D. Fla. Mar. 21, 2022) ........................................................ 43

Sitogum Holdings, Inc. v. Ropes,
    800 A.2d 915 (N.J. Super. Ct. Ch. Div. 2002)..................................................... 12

State Farm Mut. Auto. Ins. Co. v. Muse,
   2022 WL 413417 (11th Cir. Feb. 10, 2022) ........................................................ 29

In re Static Random Access Memory Antitrust Litig.,
    264 F.R.D. 603 (N.D. Cal. 2009) ......................................................................... 40

Stevenson Lumber Co.-Suffield v. Chase Assocs., Inc.,
    284 Conn. 205 (2007) .......................................................................................... 27

Stewart v. JP Morgan Chase Bank, N.A.,
   2022 WL 294763 (N.D. Ill. Feb. 1, 2022)............................................................ 30

State ex rel. Stovall v. DVM Enters., Inc.,
   62 P.3d 653 (Kan. 2003) ...................................................................................... 13

In re Syngenta AG MIR 162 Corn Litig.,
    2016 WL 5371856 (D. Kan. Sept. 26, 2016) ................................................... 7, 38


                                                         - xiii -
   010646-11/2030303 V1
Case 2:17-cv-00699-BRM-RLS                     Document 731-10             Filed 02/20/24          Page 15 of 82
                                                PageID: 31253



In re Takata Airbag Prod. Liab. Litig.,
    524 F. Supp. 3d 1266 (S.D. Fla. 2021)................................................................. 36

Thomas v. Generac Power Sys. Inc.,
   2020 WL 9602345 (N.D. Fla. Dec. 28, 2020) ..................................................... 27

TitleMax of Del., Inc. v. Weissmann,
    24 F.4th 230 (3d Cir. 2022) ................................................................................. 62

Tomlinson v. Ocwen Loan Servicing, LLC,
  2015 WL 7853957 (D. Kan. Dec. 3, 2015) .......................................................... 13

Tucker v. Sierra Builders,
   180 S.W.3d 109 (Tenn. Ct. App. 2005) ................................................................ 4

Tungate v. MacLean-Stevens Studios, Inc.,
   714 A.2d 792 (Me. 1998) ................................................................................. 8, 32

Tyson Foods, Inc. v. Bouaphakeo,
   577 U.S. 442 (2016) ............................................................................................. 41

Vista Healthplan, Inc. v. Cephalon, Inc.,
   2015 WL 3623005 (E.D. Pa. June 10, 2015) ....................................................... 20

Wal-Mart Stores, Inc. v. Dukes,
  564 U.S. 338 (2011) ............................................................................................. 58

Waste Mgmt. Holdings, Inc. v. Mowbray,
  208 F.3d 288 (1st Cir. 2000) ................................................................................ 25

Webster v. LLR, Inc.,
  2018 WL 10230741 (W.D. Pa. Aug. 20, 2018) ................................................... 20

Whataburger Rests. LLC v. Cardwell,
  545 S.W.3d 73 (Tex. App. 2017) ......................................................................... 12

Wilson v. Volkswagen Grp. of Am., Inc.,
   2018 WL 4623539 (S.D. Fla. Sept. 26, 2018) ...................................................... 33

Wright v. PRG Real Est. Mgmt., Inc.,
  826 S.E.2d 285 (S.C. 2019) .................................................................................. 28


                                                         - xiv -
   010646-11/2030303 V1
Case 2:17-cv-00699-BRM-RLS                        Document 731-10               Filed 02/20/24           Page 16 of 82
                                                   PageID: 31254



                                                       STATUTES

Colo. Rev. Stat. Ann. § 6-1-115 ................................................................................. 29

Indiana Code Section 24-5-0.5-3 ............................................................................... 32

Iowa Code Ann. § 714H.5(5) .................................................................................... 30

Iowa Code § 714H.2(1) ............................................................................................. 26

N.D. Cent. Code Ann. § 28-01-24 ............................................................................ 29

N.D. Cent. Code Ann. § 51-15-02 ............................................................................ 24

N.D. Cent. Code Ann. § 51-15-12 ............................................................................ 30

S.C. Code Ann. § 39-5-150 ....................................................................................... 30

Tenn. Code Ann. § 47-18-110 ................................................................................... 30

                                               OTHER AUTHORITIES

1 Maine Jury Instruction Manual § 7-80 (2022)........................................................ 27

Inflation Reduction Act of 2022, Pub. L. No.117-169, § 11406 (2022)..................... 1

James R. Strickland, Note, David’s Sling: The Undetected Power of Indiana’s
   Deceptive Consumer Sales Act, 51 Ind. L. Rev. 211 (2018) ..................................... 24

Manual for Complex Litigation (4th) § 22.634 (2004) ............................................. 25

MPJI-Cv 7:9 ................................................................................................................ 28

NEWBERG ON CLASS ACTIONS § 4:54 ........................................................................ 40

Restatement (Second) of Conflicts of Law § 6, comment e (2022) .......................... 18

Rule 23(b)(3)(D) ................................................................................................... 53, 54




                                                              - xv -
   010646-11/2030303 V1
Case 2:17-cv-00699-BRM-RLS              Document 731-10   Filed 02/20/24    Page 17 of 82
                                         PageID: 31255



                                   I.     I NTRODUCTION

        Given the iniquity of their conduct, defendants fall back on the fallacy that

one cannot demarcate the line between “fair” and “unfair” under the law without

making some arbitrary distinction. But the idea that rebates are generally lawful does

not preclude the conclusion that defendants’ behavior in this case is unlawful. And the

notion that a trier of fact cannot judge when lawful conduct becomes unlawful

defies basic legal principles. As Justice Stewart famously wrote about the line

between free expression and criminal obscenity: “I know it when I see it.”1

        In this instance, lawmakers,2 the media, and the public see it—“it” being the

unfairness of defendants’ conduct. Whether a jury sees it too remains up to them.

But objective facts and standards provide common to the class guiding principles: (1)

the speed and size of list price increases in relation to net price; (2) the age of the

analog insulin products; (3) the subversion of competition between interchangeable

treatments; (4) shadow pricing; (5) a captive market; and (7) the knowledge of harm

to diabetics. Taken together, these facts common to each class member illuminate

the line between standard industry practice and unlawful conduct that has inflicted


  1
      Jacobellis v. Ohio, 378 U.S. 184, 197 (1964) (Stewart, J., concurring).
  2
     See Inflation Reduction Act of 2022, Pub. L. No.117-169, § 11406 (2022); “Sen.
Schumer talks on what the Inflation Reduction Act means for Americans,” All
Things Considered, NPR.ORG (Aug. 8, 2022), available at
https://www.npr.org/2022/08/08/1116389427/sen-schumer-talks-on-what-the-
inflation-reduction-act-means-for-americans.

                                               -1-
  010646-11/2030303 V1
Case 2:17-cv-00699-BRM-RLS         Document 731-10      Filed 02/20/24    Page 18 of 82
                                    PageID: 31256




pain on millions. Something caused insulin list prices to skyrocket despite competitive

market conditions. A jury can examine evidence of that something and decide

whether it meets the elements of state law claims. And Rule 23 provides the ideal—if

not the only—mechanism for adjudicating those claims.

       Unlike in other consumer class actions that require individual receipts or

affidavits to ascertain the class, the pharmaceutical industry maintains an abundance

of transactional data that identifies not only the purchaser and product, but also

important details of each transaction. And because only the defendants have their

hands on the lever that drives list price—the core input for all relevant transactions—a

jury can draw a straight line from the defendants’ misconduct to the prices paid by

all class members.

       To avoid certification, defendants must resort to manufacturing individualized

issues where none exist. Some families purportedly should have spent more on

insurance premiums. Others should have contravened their physicians’ advice and

purchased human insulin they weren’t prescribed. Some class members, defendants

suppose, could afford to pay more. But just because defendants can callously imagine

such things, that does not make them relevant. Defendants must present a legal basis

for their positions. And neither Rule 23 nor state law provides one.

       In truth, this is a straightforward case with a manageable plan. Plaintiffs

proceed under one theory of liability. The most important choice-of-law factors

                                            -2-
  010646-11/2030303 V1
Case 2:17-cv-00699-BRM-RLS               Document 731-10   Filed 02/20/24    Page 19 of 82
                                          PageID: 31257




dictate that a single state law—that of the forum state—should apply, making a trial

even more practicable. And the simplicity of plaintiffs’ theory coupled with the

prevalence of detailed transactional data means ascertaining injured class members

isn’t difficult. In a case where the entire country sees the injustice being done, the

Court is not powerless to act. Plaintiffs’ motion for class certification should be

granted and a trial date set.

                                   II.    L EGAL A RGUMENT

A.        Common issues predominate for classes seeking relief for “unfair practices.”

          1.        The class members belong to a captive market, so common issues
                    predominate as to whether they could reasonably avoid the harm.

          The defendants contend class members could have avoided substantial

injuries from their conduct by: (1) seeking out financial assistance programs; (2)

purchasing different insurance; or (3) taking human insulin they weren’t prescribed.

Each suggestion proves more offensive than the last and ignores both the realities of

the market and relevant authority.

          To begin, defendants provide no authority for their ipse dixit that affordability

programs create individualized issues as to whether each class member could have

reasonably avoided substantial injury. Defendants cite only cases in which consumers

could avoid harm by not buying a product at all or by choosing a different one




                                                -3-
     010646-11/2030303 V1
Case 2:17-cv-00699-BRM-RLS        Document 731-10       Filed 02/20/24   Page 20 of 82
                                   PageID: 31258




altogether.3 Of course, for an insulin-dependent diabetic, these options make no

sense and could prove catastrophic. And where the basis for all retail prices (WAC) is

the same everywhere, the consumer couldn’t have avoided it as a matter of fact.

       Courts uniformly reject arguments that the potential availability of rebates or

other reimbursement means that any harm was reasonably avoidable. In FTC v.

Neovi, Inc., the Ninth Circuit found that requiring a consumer to search for a

“‘reimbursement required a substantial investment of time, trouble, aggravation, and

money.’”4 In other words, the defendants can’t sidestep liability by requiring class

members to jump through the hoops they set up.5 Numerous courts agree.6

       The defendants also find no support for their contention that “consumer[s]


  3
     See, e.g., Siegel v. Shell Oil Co., 612 F.3d 932, 937 (7th Cir. 2010) (plaintiff
“could—and did—purchase gasoline from non-defendants”); Tucker v. Sierra Builders,
180 S.W.3d 109, 118 (Tenn. Ct. App. 2005) (plaintiff had “ability to decide whether
or not to purchase” from someone else).
   4
     604 F.3d 1150, 1158 (9th Cir. 2010) (quoting district court).
   5
     The defendants also have not shown that a single class representative was eligible
for a patient assistance program or coupon they did not use.
   6
     See FTC v. Elec. Payment Sols. of Am. Inc., 482 F. Supp. 3d 921, 931 (D. Ariz.
2020) (“‘obtaining reimbursement require[s] a substantial investment of time,
trouble, aggravation, and money.’”); FTC v. Amazon.com, Inc., 2016 WL 10654030,
at *10 (W.D. Wash. July 22, 2016) (“customers could [not] reasonably avoid their
injury by seeking a refund”); In the Matter of Apple Inc., 2014 WL 1330287, at *25
(FTC Mar. 25, 2014) (“companies . . . cannot impose on consumers the
responsibility for ferreting out material aspects of payment systems”); FTC v. Direct
Benefits Grp., LLC, 2013 WL 3771322, at *14 (M.D. Fla. July 18, 2013) (“refunds . . .
[do] not render the injury avoidable”); CFPB v. D & D Mktg., 2016 WL 8849698, at
*10 (C.D. Cal. Nov. 17, 2016) (“consumers could [not] have avoided injury by wising
up to the scheme earlier on”).

                                           -4-
  010646-11/2030303 V1
Case 2:17-cv-00699-BRM-RLS         Document 731-10       Filed 02/20/24    Page 21 of 82
                                    PageID: 31259




could have chosen a plan with co-pays” to avoid legal harm.7 And for good reason.

The notion that it’s reasonable for consumers to get specific insurance to dodge the

defendants’ scheme is not endorsed by any case the defendants cite.8 It’s also

frivolous,9 particularly where most get insured through employers, when plans with

flat copays can cost thousands, and when insurance must meet the needs of the

entire family.10

       Perhaps most baseless, the defendants believe consumers should override their

doctors’ prescriptions and purchase human insulin they were not directed to take.

Even if some diabetics have tried human insulin, that does not mean it’s reasonable

as a matter of law to expect any given class member to experiment with medication

to avoid defendants’ conduct. If anything, the fact that the defendants suggest



  7
     See Def. Br. at 32.
   8
     Defendants cite a case in which lawyers could have avoided charges by
“requesting that the court-reporting firms omit (or charge a different per-page rate
for) the indices from any transcripts they order.” In re Motions to Certify Classes
Against Ct. Reporting Firms, 715 F. Supp. 2d 1265, 1277-78 (S.D. Fla. 2010), aff’d sub
nom. Webber v. Esquire Deposition Servs., LLC, 439 F. App’x 849 (11th Cir. 2011).
Suffice to say, class members couldn’t pay less by requesting lower prices.
   9
     Cf. Cmty. Fin. Servs. Ass’n of Am., Ltd. v. Consumer Fin. Prot. Bureau, 558 F. Supp.
3d 350, 361-62 (W.D. Tex. 2021) (rejecting argument “that overdraft fees are
‘reasonably avoidable’ because consumers could simply put sufficient funds in their
accounts or avoid taking out loans”).
   10
      See Expert Rebuttal Report of Meredith Rosenthal, Ph.D. In Support of Class
Certification (“Rosenthal Rebuttal ¶¶ 10-11”) (Exhibit 1 to the Declaration of Steve
W. Berman In Support of Plaintiffs’ Reply In Support of Motion for Class
Certification (“Berman Reply Decl.”)).

                                            -5-
  010646-11/2030303 V1
Case 2:17-cv-00699-BRM-RLS          Document 731-10        Filed 02/20/24    Page 22 of 82
                                     PageID: 31260




altering a prescribed treatment plan to such ends proves just how trapped class

members are.

       Even the cases relied on by the defendants explain why they’re wrong. The

point of the “reasonably avoidable” requirement is to allow consumers to act as free

market “regulators,” picking and choosing with whom they do business.11 But that’s

the point: there is no free market in the analog insulin market. Patients prescribed an

analog insulin can only choose between the defendants’ products subject to the same

scheme. In a case like this, “where the claim is based on allegations of ‘some form of

seller behavior that unreasonably creates or takes advantage of an obstacle to the free

exercise of consumer decisionmaking,’” plaintiffs may prove on a classwide basis that

the injuries were not reasonably avoidable.12

       What’s more, defendants’ arguments present common issues on the merits

under an objective, reasonable person standard.13 A jury may decide using common

proof whether it’s reasonable to expect the average consumer to avoid an overcharge

by altering their physician’s prescribed treatment, buying different insurance, or




  11
     Porsche Cars N. Am., Inc. v. Diamond, 140 So. 3d 1090, 1099 (Fla. Dist. Ct. App.
2014).
  12
     Id.
  13
     Deibler v. SanMedica Int’l, LLC, 2021 WL 6198062, at *11 n.21 (D.N.J. Dec. 30,
2021) (explaining that the NJCFA applies objective reasonable consumer standard
susceptible to common proof).

                                             -6-
  010646-11/2030303 V1
Case 2:17-cv-00699-BRM-RLS           Document 731-10       Filed 02/20/24     Page 23 of 82
                                      PageID: 31261




scouring the market for discounts only available to the select few.

       2.        The defendants cannot avoid certification by speculating about “pass-
                 through benefits” to gin up individual issues as to substantial injury.

       The defendants suppose that “rebates may have lowered a consumer’s costs in

ways not reflected in the transaction price.”14 Yet, they fail to provide any factual or

legal basis for how their musings create predominating individual issues regarding

the “substantial injury” element. To begin, defendants must prove that passed-through

rebates offset class members’ losses.15 But they have not identified a single putative

class member whose losses purportedly are offset by a pass-through of rebates,

confirming that they rely on pure speculation.16

       Moreover, defendants spuriously summarize the takeaway from Cadco, Ltd. v.

Doctor’s Associations, Inc. as “whether ‘cost savings’ were ‘in any way passed through to

the consumer’ [is] relevant to substantial-injury analysis.”17 The plaintiff in Cadco

alleged that a restaurant franchise unfairly used the plaintiffs’ heating plate design to




  14
       Def. Br. at 34.
    15
       See Arch Ins. Co. v. Precision Stone, Inc., 584 F.3d 33, 42 (2d Cir. 2009) (“a setoff
claim is properly characterized as an affirmative defense”).
    16
       See In re Syngenta AG MIR 162 Corn Litig., 2016 WL 5371856, at *9 (D. Kan.
Sept. 26, 2016) (“Syngenta has not identified any class member whose gains . . .
would completely offset the damages . . . under plaintiffs’ damage models, and thus
it is speculative whether any class members had no injury for these reasons.”).
    17
       Def. Br. at 34.

                                              -7-
  010646-11/2030303 V1
Case 2:17-cv-00699-BRM-RLS           Document 731-10      Filed 02/20/24   Page 24 of 82
                                      PageID: 31262




buy identical plates from a rival.18 While the court noted that defendants’ cost

savings didn’t pass through to the consumer, it did not endorse such a pass-through

defense as valid. In fact, it did the opposite, rejecting out of hand the same speculative

defense offered here.19

       The defendants ignore another key distinction.20 Unlike in Cadco, the

hypothetical benefit here would come from collateral sources. The defendants do not

cite a single case for the proposition that they may use theoretical trickle-down

savings from non-parties as offsets. And regardless, the purported relevance and

admissibility of payments from a collateral source presents a common issue.21

       3.        The defendants’ subjective belief as to the moral culpability of the
                 PBMs does not create an individualized issue as to legal causation.

       The defendants admit they control the list prices of their drugs. And it’s their

manipulation of these list prices that impacts the prices class members pay; when

they increase list prices, the plaintiffs’ spending increases. Nevertheless, these truths



  18
      204 A.3d 737, 751 (Conn. Ct. App. 2019).
   19
      Id.
   20
      Other cases cited by defendants are also inapposite. See Leszanczuk v. Carrington
Mortg. Servs., LLC, 21 F.4th 933, 943 (7th Cir. 2021) (plaintiff “could have avoided
the inspection fee by contracting with a different mortgage servicer”); Tungate v.
MacLean-Stevens Studios, Inc., 714 A.2d 792, 798 (Me. 1998) (a commission “as little
as $1.25 … would clearly be insubstantial”).
   21
      In re EpiPen Litig., 2020 WL 1180550, at *27 (D. Kan. Mar. 10, 2020) (“whether
the collateral source doctrine applies to plaintiffs who used insurance to pay for their
EpiPen purchases is a legal issue that presents a common question”).

                                              -8-
  010646-11/2030303 V1
Case 2:17-cv-00699-BRM-RLS         Document 731-10      Filed 02/20/24    Page 25 of 82
                                    PageID: 31263




don’t stop the defendants from asserting “PBMs’ and other entities’ roles in causing

any consumer’s alleged injury requires a case-by-case inquiry.”22

       The defendants conflate moral blame with proximate causation. They may

subjectively fault PBMs and insurers for not passing on more savings. But the

defendants offer no basis for the idea that their subjective finger-pointing amounts

to an intervening legal cause of the plaintiffs’ harm. Nor can they, because the

defendants speak of an additional harm, separate from the one alleged by plaintiffs.

Even accepting the contention that others in the supply chain bear responsibility for

higher premiums, fewer point-of-sale rebates, or greater coinsurance rates, the

plaintiffs do not seek to recover in this lawsuit those harms caused by non-parties.

The plaintiffs seek to recover damages for injuries directly attributable to the

defendants’ unlawful and unfair list price manipulation.

       The defendants even acknowledge their rebate scheme hurt class members in

the same way—by inflating WAC, they amplified the core pricing input for insulin

purchases.23 The cases cited by the defendants do nothing to overcome that. In Siegel,

putative class members could have bought gasoline from “non-defendants;”24 here,

class members could only buy defendants’ analog insulin because only defendants


  22
     See Def. Br. at 35.
  23
     See Pls.’ Class Br. at 25-32 n.86-118.
  24
     612 F.3d at 937.

                                              -9-
  010646-11/2030303 V1
Case 2:17-cv-00699-BRM-RLS          Document 731-10       Filed 02/20/24    Page 26 of 82
                                     PageID: 31264




produce it. In McNair v. Synapse Group, classwide evidence could not prove deception

because “each named Plaintiff reacted very differently” to the deceptive material;25

here, the claims do not rely on reactions to deceptive acts, as everyone paid prices

directly based on defendants’ inflated benchmarks.

       4.        Whether countervailing benefits exist and outweigh the harm is a
                 common issue.

       The defendants recycle their flawed argument regarding the “substantial

injury” element, insisting that “Plaintiffs have no classwide means of assessing the

benefits of rebates” to the PBMs and others.26 It fails for the same reasons.

       First, consumers don’t receive any direct benefits from rebates, third parties do.

Insurers get lower net prices. And PBMs pocket fees and capture a portion of the

rebates to insurers. Thus, as the defendants point out, any so-called “benefits” to

patients must come from the insurers as collateral sources, and the defendants present

no authority that payments made by a collateral source are relevant and admissible.27

       Second, the benefit must not just exist in a hypothetical sense; it must outweigh

the harm. Even if one accepts that rebates provide marginal pass-through value to

some consumers, one must also accept that they create no net benefits to consumers



  25
      2009 WL 1873582, at *10 (D.N.J. June 29, 2009).
   26
      Def. Br. at 36.
   27
      And as noted before, whether such payments are admissible presents a common
issue. See supra note 21.

                                            - 10 -
  010646-11/2030303 V1
Case 2:17-cv-00699-BRM-RLS             Document 731-10    Filed 02/20/24    Page 27 of 82
                                        PageID: 31265




over the but-for world with a lower WAC. Insurers save by virtue of lower prices, not

lower prices because of rebates. The defendants unwittingly underscore an important

point of plaintiffs’ case: they created this system with excessive list prices and secret

rebates that allowed middlemen to profit at the expense of the class. In a but-for

world where defendants acted lawfully, consumers benefit not only by their insurers

saving money, but also by virtue of a lower list price. The defendants’ theory that

countervailing benefits of rebates outweigh the harm of inflated insulin prices defies

common sense. And, in any event, presents a common issue.

           Further, the defendants’ attempt to distinguish cases concerning average

wholesale prices (AWP) relies on their misrepresentation: that the plaintiffs “do not

dispute that the defendants’ list prices are what they claim to be: the prices

Defendants charge wholesalers, exclusive of rebates and discounts.”28 The italicized

portion is crucial. For, as in the AWP cases, the list prices here bear no relation to

the ultimate prices paid by wholesalers after accounting for secret rebates.

B.         Common issues predominate for the unconscionability theory.

           In challenging predominance of common issues for the unconscionability

theory of liability, defendants cite only cases concerning individuals’ claims as




     28
          See Def. Br. at 37 (emphasis added).

                                                 - 11 -
     010646-11/2030303 V1
Case 2:17-cv-00699-BRM-RLS           Document 731-10     Filed 02/20/24   Page 28 of 82
                                      PageID: 31266




supposed proof that unconscionability can’t be litigated in class actions.29 Needless to

say, such cases don’t stand for that proposition. And as shown in the opening brief

and below, each proposed unconscionability class should be certified.

       1.        New Jersey unconscionability class.

       The defendants suggest New Jersey law precludes certification because

“unconscionability is ‘fact-specific and applied on a case-by-case basis.’”30 But the

case on which they rely cites Kugler v. Romain, where the New Jersey Supreme Court

explained that “mass consumer transactions growing out of unequal bargaining

power and unfair practices should not be handled on a case-by-case basis.”31 The

defendants engage in more disingenuous quotation when they claim the “capacity to

mislead is the prime ingredient” to the plaintiffs’ theory.32 They leave out that this

quote applies to “consumer fraud,” and that the original source of the quote—the New

Jersey Supreme Court—distinguished between unconscionability and consumer fraud

in that same case.33


  29
     See Sitogum Holdings, Inc. v. Ropes, 800 A.2d 915, 920 (N.J. Super. Ct. Ch. Div.
2002); Whataburger Rests. LLC v. Cardwell, 545 S.W.3d 73 (Tex. App. 2017); Res.
Mgmt. Co. v. Weston Ranch & Livestock Co., 706 P.2d 1028, 1041 (Utah 1985).
  30
     Def. Br. at 38 (quoting Judge v. Blackfin Yacht Corp., 815 A.2d 537, 541 (N.J.
Super. Ct. App. Div. 2003)).
  31
     58 N.J. 522, 537 (1971) (emphasis added).
  32
     Defs.’ Br. at 39 (citing Silver v. Pep Boys-Manny, Moe & Jack of Del., Inc., 2018 WL
1535285, at *5 (D.N.J. Mar. 29, 2018)).
  33
     Cox v. Sears Roebuck & Co., 647 A.2d 454, 462 (N.J. 1994) (emphasis added).

                                            - 12 -
  010646-11/2030303 V1
Case 2:17-cv-00699-BRM-RLS           Document 731-10     Filed 02/20/24    Page 29 of 82
                                      PageID: 31267



       2.        Texas unconscionability class.

       The defendants believe that Texas law requires a jury evaluate each class

member’s circumstances in an unconscionability claim. They are wrong. In each case

cited by the defendants, class members either could have hired a different service or

simply failed to prove unconscionable pricing.34 Those courts did not address a

situation, such as here, where all class members belonged to a captive market.

       3.        Kansas unconscionability class.

       In challenging certification under Kansas law,35 the defendants disregard

Nieberding v. Barrette Outdoor Living, Inc., which certified an unconscionability class

under the KCPA for “selling the class a product that ‘grossly’ exceeded its worth.”36

Instead, the defendants cite two inapposite non-class cases ruling on the merits.37

And the only class-certification decision defendants cite did not certify an



  34
      Peter G. Milne, P.C. v. Ryan, 477 S.W.3d 888 (Tex. App. 2015) (other advisors
available); Lon Smith & Assocs., Inc. v. Key, 527 S.W.3d 604 (Tex. App. 2017) (other
insurers available); McPeters v. LexisNexis, 11 F. Supp. 3d 789, 807 n.13 (S.D. Tex.
2014) (“LexisNexis did not take advantage of its status as sole provider”).
   35
      See Defs.’ Br. at 39-40. The defendants contend that the plaintiffs did not allege
a Kansas unconscionability claim, but ignore that the plaintiffs seek any “just and
proper relief available under Kan. Stat. Ann. § 50-623, et seq,” which includes § 50-
627 barring unconscionable practices. 3d. Am. Compl. ¶ 731.
   36
      302 F.R.D. 600, 616 (D. Kan. 2014).
   37
      See State ex rel. Stovall v. DVM Enters., Inc., 62 P.3d 653, 659 (Kan. 2003)
(affirming summary judgment for defendants who “did not deceive, oppress, or
misuse superior bargaining power”); Tomlinson v. Ocwen Loan Servicing, LLC, 2015
WL 7853957, at *4 (D. Kan. Dec. 3, 2015) (dismissing claim that “issuance of the
1099-C was an unconscionable act because [plaintiff’s] debt was already settled”).

                                            - 13 -
  010646-11/2030303 V1
Case 2:17-cv-00699-BRM-RLS             Document 731-10      Filed 02/20/24   Page 30 of 82
                                        PageID: 31268




unconscionability claim because the relevant leases “were executed at various times,

for various primary terms, and under a variety of different terms and conditions.”38

Here, the scheme was uniform for all class members—each paid based on the single

list price the defendants’ set for each product at issue.

          4.        Utah unconscionability class.

          To argue that Utah law requires assessing each class member’s unique

circumstances, defendants merely cite two inapposite cases—a decision dismissing a

complaint that pleaded no facts to support unconscionability, and an individual

contract claim.39 As neither deals with class certification, the argument fails.

C.        A nationwide class should be certified.

          The defendants’ challenge to a nationwide class rests on a misapplication of

the Restatement choice-of-law factors. As if straight from a class defendant playbook,

their argument—that each state’s interest in applying its own statute trumps all else—

is as worn as it is wrong. According to the defendants, states’ interests mandate the

rote application of their laws even if that choice-of-law frustrates the goals of the




     38
      Frederick v. S. Star Cent. Gas Pipeline, Inc., 2011 WL 3880902, at *3 (D. Kan.
Sept. 2, 2011).
   39
      See Cotte v. CVI SGP Acquisition Tr., 2022 WL 464307, at *10 (D. Utah Feb. 15,
2022) (dismissing claim that “‘simply repackaged [Defendants’] allegedly deceptive
conduct and called it unconscionable.’”) (citation omitted); Res. Mgmt. Co., 706 P.2d
at 1041 (individual claim that contract was unconscionable).

                                               - 14 -
     010646-11/2030303 V1
Case 2:17-cv-00699-BRM-RLS          Document 731-10       Filed 02/20/24     Page 31 of 82
                                     PageID: 31269




relevant statutes.40 But the law is not so rigid and illogical as to command such a

nonsensical result. For where each state seeks to deter the same unfair conduct and

protect consumers, and where the unlawful conduct occurred in a single state, one

law—in this case, New Jersey law—should apply for all.

       Under § 145 of the Restatement, which applies to tort claims, the relevant

contacts are with New Jersey (the domicile of Sanofi and Novo Nordisk, where

injury-causing conduct occurred and where the relationship is centered) or a class

member’s home state (domicile of class members and where most injuries occur). To

determine which of these locations has a “more significant relationship,” the Court

looks to the factors under § 6.41

       The defendants misapply these factors, relying heavily on Maniscalco v. Brother

International (USA) Corporation. But Maniscalco applied § 148 of the Restatement,

which applies only “[w[here a fraud or misrepresentation claim has been alleged,”42



  40
      See Downing v. Abercrombie & Fitch, 265 F.3d 994, 1007 (9th Cir. 2001)
(dismissing as “pure fancy” the argument that a state would seek to restrict its
citizens from recovery that others could obtain under another state’s law).
   41
      In re Accutane Litig., 235 N.J. 229, 261 (2018). These are: “(a) the needs of the
interstate and international systems, (b) the relevant policies of the forum, (c) the
relevant policies of other interested states and the relative interests of those states in
the determination of the particular issue, (d) the protection of justified expectations,
(e) the basic policies underlying the particular field of law, (f) certainty, predictability
and uniformity of result, and (g) ease in the determination and application of the
law to be applied.” Id.
   42
      709 F.3d 202, 207 (3d Cir. 2013).

                                             - 15 -
  010646-11/2030303 V1
Case 2:17-cv-00699-BRM-RLS          Document 731-10      Filed 02/20/24   Page 32 of 82
                                     PageID: 31270




whereas § 145 applies here to the defendants’ unconscionable business practices.

And, crucially, the pertinent conduct in Maniscalco occurred in Japan, not New

Jersey.43 Maniscalco also predates In re Accutane Litigation, where the New Jersey

Supreme Court held that the judicial interests of certainty, predictability and ease in

applying the law are paramount in a complex case such as this.44

         The defendants dismiss such interests of judicial administration, merely citing

a case involving a single-car accident.45 But in a complex class action involving

numerous plaintiffs from several states, such as here, the “most significant

Restatement factors” are (f)—“certainty, predictability and uniformity of result”—and

(g)—“ease in the determination and application of the law to be applied.”46 In

Accutane, the New Jersey Supreme Court held these factors weighed heavily in favor

of the applying New Jersey law since applying only one state’s law, the law of New

Jersey, would ensure predictable and uniform results in an otherwise complex case.47

And the trial judge would only have to apply familiar New Jersey law rather than the

laws of 45 states, resulting in fewer errors and more timely disposition of the



  43
     Id. at 211-12.
  44
     235 N.J. at 263. A federal court follows the choice of law rules of the state in
which it sits. Klaxon v. Stentor Elec. Mfg. Co., 313 U.S. 487, 496 (1941).
  45
     See Fu v. Fu, 160 N.J. 108, 114-15 (1999).
  46
     Accutane, 235 N.J. at 263.
  47
       Id.

                                            - 16 -
  010646-11/2030303 V1
Case 2:17-cv-00699-BRM-RLS           Document 731-10       Filed 02/20/24     Page 33 of 82
                                      PageID: 31271




plaintiffs’ claims.48

       In retort, the defendants’ invoke “competing state interests” to advance their

own, which smacks of irony. The defendants do not explain how a choice-of-law

result that complicates recovery supposedly protects the interests of other states in

deterring conduct or compensating victims. Nor can they. According to a court in

this district, such a result frustrates the state interests the defendants purport to

defend and creates perverse incentives for corporate defendants.49

       As the New Jersey Supreme Court held, a forum state should not apply

choice-of-law principles in a way that discriminates against out-of-state residents,50

and should consider if applying the forum state’s law would frustrate the policies of

other states.51 “If a strong state policy or interest will be neither fostered by applying

that state’s law, nor frustrated by the failure to apply it, it is highly unlikely that that

state has any interest whatsoever in blanketing that particular issue with its law.”52

So, “the initial focus should be on ‘what [policies] the legislature or court intended



  48
      Id. at 263-64.
   49
      See In re Mercedes-Benz Tele Aid Contract Litig., 167 F.R.D. 113,151 (D.N.J.
2010). (“Granting the relief sought by Mercedes . . . would infringe the
compensatory interests of all six of the states in which this litigation’s constituent
actions were filed.”).
   50
      Accutane, 235 N.J. at 262.
   51
      Fu, 160 N.J. at 122.
   52
      Id. at 122-23.

                                             - 17 -
  010646-11/2030303 V1
Case 2:17-cv-00699-BRM-RLS          Document 731-10       Filed 02/20/24    Page 34 of 82
                                     PageID: 31272




to protect by having that law apply to wholly domestic concerns, and then, whether

those concerns will be furthered by applying that law to the multi-state situation.”53

In other words, the Court should consider whether all state interests would be just as

easily (if not better) advanced by applying the law of one state to all consumers.

       Through this lens, applying New Jersey law to all class members’ claims best

furthers all state interests. Consumer protection statutes protect and compensate

wronged consumers.54 And the New Jersey Consumer Fraud Act aims to deter unfair

and unconscionable conduct by New Jersey businesses and make whole the victims,

even if out of state.55 Moreover, the level of protection provided and the stringency

of punishments under each state’s consumer fraud statute are not competing

resolutions of a particular policy issue; they reflect legislatures’ decisions to create

actions attacking the same wrongdoing.56 Application of a single law provides the

best (and most efficient) opportunity for consumers to recover nationwide. And it

furthers New Jersey’s goal of deterring corporate misconduct in its state.



  53
      Id. at 125 (quoting Pfizer, Inc. v. Employers Ins. of Wausau, 154 N.J. 187, 198
(1998)). See also Restatement (Second) of Conflicts of Law § 6, comment e (2022).
(“If the purposes sought to be achieved by a local statute or common law rule would
be furthered by its application to out-of-state facts, this is a weighty reason why such
application should be made.”).
   54
      Dal Ponte v. Am. Mortg. Express Corp., 2006 WL 2403982, at *5 (D.N.J. Aug. 17,
2006).
   55
      Elias v. Ungar’s Food Prods., 252 F.R.D. 233, 147 (D.N.J. 2008) (Shwartz, M.J.).
   56
      Dal Ponte, 2006 WL 2403982, at *6.

                                            - 18 -
  010646-11/2030303 V1
Case 2:17-cv-00699-BRM-RLS           Document 731-10      Filed 02/20/24   Page 35 of 82
                                      PageID: 31273




          Finally, the defendants overstate the importance of the parties’ expectations

about what law should apply; this factor holds little weight in the field of torts.57 So

it doesn’t matter if plaintiffs could reasonably expect to be held to the law of their

home state or if defendants should expect to be sued under New Jersey law.

          In short, applying New Jersey law nationwide is neither unprecedented nor

incompatible with the goals of its sister states.58 It streamlines case management,

promotes judicial efficiency, and advances—rather than frustrates—the similar

interests of the class members’ home states. In a case with such enormous public

significance, application of a New Jersey nationwide class is appropriate.

D.        The proposed multi-state classes should be certified.

          Contrary to the defendants’ arguments, the proposed multi-state classes satisfy

Rule 23(b)(3). The defendants first engage in the misleading use of brackets when

they claim that “there is ‘almost universal reluctance to certify [multi-state consumer




     57
      Fu, 160 N.J. at 123. The justified expectations of a party can become a factor if
defendants conformed their conduct to comply with the law of their home state, but
someone seeks to hold them liable under the law of another state. See Montich v.
Miele USA, Inc., 849 F. Supp. 2d 439, 450 (D.N.J. 2012) (quoting Restatement § 6,
comment g). But that is plainly not a factor where defendants here seek to avoid the
law of their home state.
   58
      See Int’l Union of Operating Eng’rs Loc. No. 68 Welfare Fund v. Merck & Co., 384
N.J. Super. 275, 303-05 (App. Div. 2006) (certifying nationwide class applying New
Jersey Consumer Fraud Act). The New Jersey Supreme Court reversed the Appellate
Division’s decision in Operating Engineers, 192 N.J. 372 (2007), but not on choice-of-
law grounds. Id. at 388 n.3.

                                             - 19 -
     010646-11/2030303 V1
Case 2:17-cv-00699-BRM-RLS          Document 731-10       Filed 02/20/24    Page 36 of 82
                                     PageID: 31274




protection] class actions.’”59 In reality, the case they quote states that “[w]ith regard to

Plaintiffs’ consumer fraud and deceptive trade practice claims, courts have been loath to

certify classes based on claims arising out of consumer fraud statutes of the various

states.”60 The court didn’t consider certifying multi-state classes for “unfair acts”

based on a three-part test. And the other cases cited are inapposite because they

don’t address multi-state classes alleging “unfair acts” under the three-part test.61

       Nor do the defendants find support with Adams Pointe I, L.P. v. Tru-Flex Metal

Hose Corp.,62 in which a district court declined to certify a fifty-state class for breach

of warranty, strict products liability, and negligence. The Third Circuit affirmed, but

only because the plaintiffs submitted “a chart listing the type of law in each state and

patterned jury instructions for the various claims in all fifty states” without providing

an actual plan to manage all three claims in all fifty states.63 Conversely, this case

involves one cause of action and 16 states, and plaintiffs’ trial plan explains the


  59
      Def. Br. at 49 (quoting Webster v. LLR, Inc., 2018 WL 10230741, at *8 (W.D.
Pa. Aug. 20, 2018)).
   60
      Webster, 2018 WL 10230741, at *8 (emphasis added).
   61
      See Vista Healthplan, Inc. v. Cephalon, Inc., 2015 WL 3623005, at *36 (E.D. Pa.
June 10, 2015) (attempting to certify two classes with more than 24 states applying
varying state antitrust, consumer fraud, and unjust enrichment standards); In re
Pepper Prods. Litig., 422 F. Supp. 3d 194, 226, 228 (D.D.C. 2019) (“[a]lthough every
state’s consumer protection statute prohibits deceptive acts, they do not utilize a
uniform definition of deception”).
   62
      2021 WL 3612155 (3d Cir. Aug. 16, 2021).
   63
      Id., at *4

                                            - 20 -
  010646-11/2030303 V1
Case 2:17-cv-00699-BRM-RLS           Document 731-10      Filed 02/20/24    Page 37 of 82
                                      PageID: 31275




standards applicable to each, the type of evidence that they will offer to satisfy those

standards, and detailed sample jury instructions.

       1.        The three-part “substantial injury” test for unfairness applies under
                 the laws of all 16 states at issue.

       The defendants misrepresent the plaintiffs’ position regarding the substantial

injury test. The plaintiffs do not contend that the “cigarette rule” is identical in its

entirety to the 1980 rule. Instead, the plaintiffs explain that the “substantial injury”

prong of the “cigarette rule” is the same as the three-part 1980 FTC rule.64 According

to the Third Circuit, “the FTC could deem a practice unfair based on the third

prong—substantial consumer injury—without finding that at least one of the other

two prongs was also satisfied.”65 So, contrary to the defendants’ argument, all states

at issue apply the same “substantial injury” test, regardless of the applicable rule.

       The defendants’ cases do not support the contrary. In Porsche, the Florida

Court of Appeal held that “the 1980 Policy Statement’s definition of unfair trade

practice should be used when interpreting FDUTPA,”66 precisely the plaintiffs’

position here. The defendants also assert, to no avail, that the “Maine Supreme

Court has likewise described the Cigarette Rule as ‘outdated’ and substantively


  64
     See Pl. Br. at 81-83 (citing FTC v. Wyndham Worldwide Corp., 799 F.3d 236, 244
(3d Cir. 2015)).
  65
     Wyndham, 799 F.3d at 244 (citing FTC v. Sperry & Hutchinson Co., 405 U.S. 233,
244 n.5 (1972)).
  66
     140 So. 3d at 1098.

                                             - 21 -
  010646-11/2030303 V1
Case 2:17-cv-00699-BRM-RLS         Document 731-10       Filed 02/20/24    Page 38 of 82
                                    PageID: 31276




distinct from the 1980 Standard.”67 But again, Searles applied the three-part test the

plaintiffs espouse here.68 And Searles did not discuss whether the older “substantial

injury” test parallels the newer FTC test. As the Third Circuit established in

Wyndham, those tests are identical. Similarly, the defendants miss the mark by

claiming some courts still look to the first and second prongs of the cigarette rule.

That may be, but it doesn’t refute the plaintiffs’ point: because the test is in the

disjunctive, the plaintiffs here can rely solely on the third prong.

       The defendants then misread case law to assert, “many states have developed

their own jurisprudence on what makes conduct unfair.”69 For example, they

maintain that Louisiana bars “‘[o]nly egregious actions involving elements of fraud,

misrepresentation, deception, or other unethical conduct.’”70 Yet they leave out that

“other unethical conduct” includes the “‘substantially injurious’” conduct here.71

       In North Carolina, the defendants misinterpret Dalton v. Camp, declaring

“‘[s]ome type of egregious or aggravating circumstances must be alleged and




  67
     Def. Br. at 52 (quoting Searles v. Fleetwood Homes of Pa., Inc., 878 A.2d 509, 519
n.10 (Me. 2005)).
  68
     See 878 A.2d at 519 n.10.
  69
     Def. Br. at 52.
  70
     Id. (quoting Quality Env’t Processes, Inc. v. I.P. Petroleum Co., 144 So.3d 1011,
1025 (La. 2014)).
  71
     Quality Env’t, 144 So. 3d at 1025 (citation omitted).

                                           - 22 -
  010646-11/2030303 V1
Case 2:17-cv-00699-BRM-RLS         Document 731-10       Filed 02/20/24    Page 39 of 82
                                    PageID: 31277




proved.’”72 But again they omit Bumpers v. Community Bank of North Virginia,73 where

the Court applied the substantial injury test without requiring additional

“egregious” conduct. And Dalton didn’t discuss “substantial injury,” let alone hold

that one must prove “egregious” conduct in addition to “substantial injury.”

       Similarly, the defendants claim that in Iowa, “a practice must be ‘contrary to

what an ordinary consumer would anticipate.’”74 Yet, they disregard Albaugh v. The

Reserve, which defined “unfair practice” as one that “causes substantial, unavoidable

injury to consumers that is not outweighed by any consumer or competitive benefits

which the practice produces.”75 The Court did not require proof that an unfair act

runs contrary to what an ordinary consumer would anticipate.

       The defendants next aver that, in Massachusetts, “‘[a]dherence to industry

standards or customs is one factor that supports a finding of no unfairness.’”76

Similarly, they declare that Maine “exempt[s] practices that ‘properly complied with

[another statute]’ or rules.”77 But these not only present merits issues irrelevant at


  72
      Def. Br. at 52 (quoting Dalton v. Camp, 548 S.E.2d 704, 711 (N.C. 2001)).
   73
      367 N.C. 81, 91 (2013).
   74
      Def. Br. at 52 (quoting State ex rel. Miller v. Vertrue, Inc., 834 N.W.2d 12, 37
(Iowa 2013)).
   75
      930 N.W.2d 676, 685 (Iowa 2019).
   76
      Def. Br. at 52 (quoting In re Pharm. Indus. AWP Litig., 491 F. Supp. 2d 20, 94
(D. Mass. 2007)).
   77
      Def. Br. at 52-53 (quoting Laing v. Clair Car Connection, 2003 WL 1669624, at
*3 (Me. Super. Ct. Jan. 29, 2003)).

                                           - 23 -
  010646-11/2030303 V1
Case 2:17-cv-00699-BRM-RLS         Document 731-10       Filed 02/20/24    Page 40 of 82
                                    PageID: 31278




this stage, they also present common issues that support certification. Still, the

defendants don’t argue that they “properly complied” with a statute or rule. And the

case they cite in Massachusetts rebuts the idea that industry customs here preclude

an unfairness finding. When “discounting became so prevalent that the list price no

longer reflected the price that most people paid, it became unfair and deceptive to

continue publishing such a list price upon which the AWP is based.”78

       The defendants also err in stating that this Court cannot decide whether the

three-part FTC standard applies in Colorado, Indiana, and North Dakota. While no

higher court in these states has explicitly outlined a test for unfair conduct, that fact

does not bar certification because: (1) it’s a common issue of law as to what test

should apply; and (2) there are reasons to suggest each state would apply the three-

part FTC test. For example, in North Dakota, the three-part FTC test appears in the

text of the statute.79 In Colorado, the state Supreme Court defined the scope of

“unfair” acts by citing Sperry & Hutchinson, which applied the three-part test from the

“cigarette rule.”80 And in Indiana, at least one article advocates adopting the same.81



  78
     In re AWP, 491 F. Supp. 2d at 105.
  79
     N.D. Cent. Code Ann. § 51-15-02 (West).
  80
     Showpiece Homes Corp. v. Assurance Co. of Am., 38 P.3d 47, 54 (Colo. 2001), as
modified on denial of reh’g (Jan. 11, 2002).
  81
     James R. Strickland, Note, David’s Sling: The Undetected Power of Indiana’s
Deceptive Consumer Sales Act, 51 Ind. L. Rev. 211, 211-12 (2018).

                                            - 24 -
  010646-11/2030303 V1
Case 2:17-cv-00699-BRM-RLS          Document 731-10      Filed 02/20/24    Page 41 of 82
                                     PageID: 31279




The defendants do not cite a single case that would foreclose these results.

       Finally, the defendants’ citation to In re EpiPen Litigation does nothing to help

their cause. In EpiPen, the plaintiffs sought to certify a class under 20 states that even

the plaintiffs conceded used competing standards to define unfair conduct.82 In this

case, class certification involves only one standard of unfair conduct.

       2.        Other state-law elements cited by the defendants do not preclude
                 certification of the multi-state classes.

       The defendants do not support their claim that “variation in other elements

under these laws, including scienter, causation, limitations periods, and available

remedies” preclude certification.83 The defendants discuss the state laws abstractly,

without showing that the alleged differences would make any realistic difference in

this matter. “Courts should look at how issues are likely to play out in the context of

the case to see what individual issues are likely to arise, and what state law

differences are irrelevant and may be ignored.”84 Here, the differences cited by

defendants are irrelevant.


  82
      In re EpiPen Litig., 2020 WL 1180550, at *57.
   83
      Def. Br. at 50.
   84
      In re Pharm. Indus. Average Wholesale Price Litig., 230 F.R.D. 61, 84 (D. Mass.
2005) (“AWP”). See also Waste Mgmt. Holdings, Inc. v. Mowbray, 208 F.3d 288, 297
(1st Cir. 2000) (affirming class certification where district court found that “‘[u]nder
either [grouping’s] rule, the factual proffer will be largely the same’” as to limitations
defense) (quoting district court); Manual for Complex Litigation (4th) § 22.634, p.
412 (2004) (where there is “little relevant difference in the governing law,” the court
can certify “appropriate grouping of claims”) (emphasis added).

                                            - 25 -
  010646-11/2030303 V1
Case 2:17-cv-00699-BRM-RLS         Document 731-10       Filed 02/20/24    Page 42 of 82
                                    PageID: 31280



            a. Scienter does not present individualized issues.

       The defendants’ contention that the “statutes vary as to scienter” is

immaterial.85 The plaintiffs claim only that the defendants acted intentionally, so

there is no need to instruct a jury as to reckless or unknowing behavior.86

            b. Questions of proximate causation are common.

       The defendants err that the States at issue “vary on” proximate causation.87

The defendants first misleadingly contend that “Iowa has abandoned proximate

causation in favor of a ‘scope of liability’ formulation.”88 Garr held that in “a

negligence cause of action,” a “scope of liability” concept has replaced “proximate

causation.”89 In contrast, the Iowa Private Right of Action for Consumer Frauds Act

defines “actual damages” as “all compensatory damages proximately caused by the

prohibited practice or act that are reasonably ascertainable in amount.”90

       The defendants’ further contention that “proximate cause” is not “a uniform




  85
      See Def. Br. at 54.
   86
      See AWP, 230 F.R.D. at 85 (“[P]laintiffs have wisely noted that they are pressing
only the theory that defendants intentionally made fraudulent misrepresentations….
Therefore, different standards governing scienter do not present individual issues.”)
(footnote omitted).
   87
      Def. Br. at 54.
   88
      See Def. Br. at 54 (citing Garr v. City of Ottumwa, 846 N.W.2d 865 (Iowa 2014)).
   89
      846 N.W.2d 869 (emphasis added).
   90
      Iowa Code § 714H.2(1) (emphasis added).

                                           - 26 -
  010646-11/2030303 V1
Case 2:17-cv-00699-BRM-RLS          Document 731-10      Filed 02/20/24    Page 43 of 82
                                     PageID: 31281




standard” is also misguided.91 The court in Debra F. Fink indicated that some state

consumer protection acts apply only a “but for” test but did not identify those

states.92 The defendants similarly fail to identify any such state. The Debra F. Fink

court also stated that many states require proof that the wrongful act is a “but for”

cause and a “substantial factor” in causing losses, so that a “foreseeable independent

act” does not relieve the defendant of liability.93 Under those standards, the

defendants cannot show any different requirements for proximate causation that

would make a difference in this case. All relevant states apply “but for,” “substantial

factor” and foreseeability tests.94 The plaintiffs don’t object to a jury instruction that


  91
      See Def. Br. at 54-55 (citing Debra F. Fink, D.M.D., MS, PC v. Ricoh Corp., 839
A.2d 942 (N.J. Super. Ct. Law. Div. 2003)).
   92
      839 A.2d at 977.
   93
      Id. at 977-78. The sole exception is Michigan, which the court explained uses a
“socially and economically desirable” test. Id. at 978. But Michigan law is not at issue
here.
   94
      See Rocky Mountain Planned Parenthood, Inc. v. Wagner, 467 P.3d 287, 292-93
(Colo. 2020) (CO) (“substantial factor” and foreseeability); Stevenson Lumber Co.-
Suffield v. Chase Assocs., Inc., 284 Conn. 205, 214 (2007) (CT) (actual cause that is a
substantial factor in the resulting harm and was foreseeable); RBC Cap. Mkts., LLC v.
Jervis, 129 A.3d 816, 864 (Del. 2015) (DE) (“but for” and foreseeability); Thomas v.
Generac Power Sys. Inc., 2020 WL 9602345, at *5 (N.D. Fla. Dec. 28, 2020) (FL)
(reasonably foreseeable); Saika v. Ocwen Loan Servicing, LLC, 357 F. Supp. 3d 704,
718 (N.D. Ill. 2018) (IL) (“but for” and foreseeability); Goodwin v. Yeakle’s Sports Bar
& Grill, Inc., 62 N.E.3d 384, 393 (Ind. 2016) (IN) (injury was a “natural and
probable consequence” and “reasonably foreseen”); Kinseth v. Weil-McLain, 913
N.W.2d 55, 75 (Iowa 2018) (IA) (“substantial factor” and “except for”); Cheramie
Servs., Inc. v. Shell Deepwater Prod., Inc., 35 So. 3d 1053, 1057 (La. 2010) (LA) (“result
of another person’s use of” unfair practices); 1 Maine Jury Instruction Manual § 7-80
(2022) (ME) (conduct must play “substantial part in bringing about or actually


                                            - 27 -
  010646-11/2030303 V1
Case 2:17-cv-00699-BRM-RLS         Document 731-10       Filed 02/20/24    Page 44 of 82
                                    PageID: 31282




applies all three tests, because the plaintiffs can readily establish causation under any

or all of them, particularly where the defendants have openly admitted that their list

price scheme results in higher insulin prices for the class.

            c. Issues concerning statutes of limitations and accrual do not present
               individual questions.

       The defendants erroneously argue that their statute of limitations defenses

(and accompanying accrual of claims rules) preclude certification.95 The defendants

ignore that the plaintiffs’ rely on the discovery rule or the fraudulent concealment

doctrine (or both) to toll the limitations period under each state’s laws.96 All states

apply the fraudulent concealment doctrine to decide whether claims are timely.97


causing the injury,” which “was either a direct result, or a reasonably foreseeable
consequence of the act or failure to act”); MPJI-Cv 7:9 (MD) (reasonably
foreseeable); Katz v. Belveron Real Est. Partners, LLC, 28 F.4th 300, 313 (1st Cir.
2022) (MA) (causal connection and foreseeable loss); Keith v. Health-Pro Home Care
Servs., Inc., 873 S.E.2d 567, 583 (N.C. 2022) (NC) (“natural and continuous
sequence” produces injuries that a “person of ordinary prudence could have
reasonably foreseen”); Krueger v. Grand Forks Cnty., 852 N.W.2d 354, 364 (N.D.
2014) (ND) (“natural and continuous sequence” produces injuries, which resulted in
“substantial part” from wrongful acts); McGehee v. Forest Oil Corp., 908 F.3d 619,
625 n.4 (10th Cir. 2018) (OK) ( “defendant’s conduct [must have] foreseeably and
substantially caused the injury”); Wright v. PRG Real Est. Mgmt., Inc., 826 S.E.2d 285,
295 (S.C. 2019) (SC) (“but for” and foreseeability); Cotten v. Wilson, 576 S.W.3d
626, 638 (Tenn. 2019) (TN) (“substantial factor” and foreseeability).
   95
      Def. Br. at 55-56.
   96
      See Third Amended Complaint, ¶¶ 314-319.
   97
      BP Am. Prod. Co. v. Patterson, 263 P.3d 103, 112–13 (Colo. 2011) (CO)
(“[Plaintiffs’] fraudulent concealment claim [to toll the statute of limitations] is
amenable to class-wide adjudication”); Palmieri v. Intervet Inc., 2021 WL 2205854, at
*13 (D.N.J. June 1, 2021) (CT) (“[Plaintiff’s] allegations sufficiently plead fraudulent


                                           - 28 -
  010646-11/2030303 V1
Case 2:17-cv-00699-BRM-RLS         Document 731-10      Filed 02/20/24   Page 45 of 82
                                    PageID: 31283




And all of them—except for Connecticut, Florida, Indiana, and Maine—apply a

discovery rule for tolling their consumer protection acts’ limitations periods.98


concealment under [CUTPA]”); Mazzanti v. Gen. Elec. Co., 2017 WL 923905, at *6
(D. Conn. Mar. 7, 2017) (CT, DE, FL, IL) (certifying consumer protection class that
included Connecticut, Delaware, Florida, and Illinois, where “fraudulent
concealment to toll the statute of limitations predominates”); Lehman Bros. Holdings,
Inc. v. Kee, 268 A.3d 178, 186 (Del. 2021) (DE) (fraudulent concealment doctrine
applies under Del. Code Ann. tit. 10, § 8106, which applies to actions based on
statutes); State Farm Mut. Auto. Ins. Co. v. Muse, 2022 WL 413417, at *9 (11th Cir.
Feb. 10, 2022) (FL) (“genuine issues of material fact exist as to whether fraudulent
concealment tolled the statute of limitations” for FDUTPA claim); Elward v.
Electrolux Home Prod., Inc., 264 F. Supp. 3d 877, 892 (N.D. Ill. 2017) (IN) (fraudulent
concealment can toll statute of limitations under Indiana Deceptive Consumer Sales
Act); House of Raeford Farms, 2021 WL 1081837, at *6 (W.D. La. Mar. 18, 2021)
(LA) (fraudulent concealment doctrine applies to LUTPA claims); Akins v. Firstbank,
N.A., 415 A.2d 567, 569 (Me. 1980) (ME) (Me. Rev. Stat. tit. 14, § 859, which
extends limitations provisions until after discovery, applied “to fraudulent
concealment from the plaintiff of the existence of a cause of action”); Nyarko v.
BMW of N. Am., LLC, 2020 WL 1491361, at *9 (D. Md. Mar. 27, 2020) (MD)
(fraudulent concealment doctrine precluded dismissal of claim under Maryland Act);
Mahoney v. Wells Fargo Bank, N.A., 2022 WL 1446934, at *10 (D. Mass. Mar. 25,
2022) (MA) (fraudulent concealment doctrine precluded summary judgment for
defendant on Chapter 93A claim); Jones v. BMW of N. Am., LLC, 2020 WL
5752808, at *3 (M.D.N.C. Sept. 25, 2020) (NC) (fraudulent concealment doctrine
applies to claim under North Carolina Act); N.D. Cent. Code Ann. § 28-01-24 (ND)
(fraudulent concealment tolls any claim under North Dakota law); Legacy Crossing,
L.L.C. v. Travis Wolff & Co., L.L.P., 229 F. App’x 672, 682 (10th Cir. 2007) (OK)
(applying fraudulent concealment doctrine under Oklahoma Act); Masquat v.
DaimlerChrysler Corp., 195 P.3d 48, 57 (Okla. 2008) (OK) (“Common issues
predominate in this matter as to the … alleged fraudulent concealment asserted in
response to Defendant’s statute of limitations defense.”); Harrell v. BMW of N. Am.,
LLC, 517 F. Supp. 3d 527, 536 (D.S.C. 2021) (SC) (“fraudulent concealment”
claims barred dismissal under South Carolina Act); Howard v. Wilkes & McHugh, PA,
2009 WL 10699545, at *13 (W.D. Tenn. Apr. 15, 2009) (TN) (“Whether the
doctrine of fraudulent concealment will operate to toll the statute of limitations on
Plaintiffs’ claims is another issue common to the entire class.”).
   98
      Colo. Rev. Stat. Ann. § 6-1-115 (CO) (discovery rule applies to claims under
Colorado Act); Lehman Bros. Holdings, Inc., 268 A.3d at 186 (DE) (discovery rule
applies under Del. Code Ann. tit. 10, § 8106, which applies to actions based on


                                           - 29 -
  010646-11/2030303 V1
Case 2:17-cv-00699-BRM-RLS         Document 731-10       Filed 02/20/24    Page 46 of 82
                                    PageID: 31284




       Defendants also ignore that in In re Linerboard Antitrust Litigation,99 the Third

Circuit held that a statute of limitations defense (and whether defendants engaged in

fraudulent concealment that tolled the limitations period) did not preclude class

certification. “Notwithstanding the individual determinations that will undoubtedly

arise at trial, common issues of concealment predominate here because the inquiry

necessarily focuses on defendants’ conduct, that is, what defendants did rather than

what plaintiffs did.”100 The “key questions” did not concern individual knowledge,

because “the critical inquiry will be whether defendants successfully concealed the

existence of the alleged conspiracy, which proof will be common among the class

members in each class.”101


statutes); Stewart v. JP Morgan Chase Bank, N.A., 2022 WL 294763, at *3 (N.D. Ill.
Feb. 1, 2022) (IL) (discovery rule applies to claims under Illinois Act); Iowa Code
Ann. § 714H.5(5) (IA) (discovery rule applies under Iowa Act); House of Raeford
Farms of Louisiana LLC v. Poole, 2021 WL 1081837, at *6 (W.D. La. Mar. 18, 2021)
(LA) (discovery rule applies to LUTPA claims); Cain v. Midland Funding, LLC, 256
A.3d 765, 782 (Md. 2021) (MD) (discovery rule applies to claim under Maryland
Act); Astellas Inst. for Regenerative Med. v. ImStem Biotechnology, Inc., 458 F. Supp. 3d
95, 106 (D. Mass. 2020) (MA) (discovery rule applies to Chapter 93A action); Jones,
2020 WL 5752808, at *3 (NC) (discovery rule applies to claim under North
Carolina Act); N.D. Cent. Code Ann. § 51-15-12 (ND) (discovery rule applies under
North Dakota Act); Legacy Crossing, L.L.C., 229 F. App’x at 682 (OK) (applying
discovery rule to claim under Oklahoma Act); AMC W. Hous. LP v. NIBCO, Inc.,
2019 WL 4491331, at *4 (W.D. Okla. Sept. 18, 2019) (applying discovery rule to
claim under Oklahoma Act); S.C. Code Ann. § 39-5-150 (SC) (discovery rule applies
to claims under South Carolina Act); Tenn. Code Ann. § 47-18-110 (TN) (discovery
rule applies to claim under Tennessee Act).
   99
      305 F.3d 145 (3d Cir. 2002).
   100
       Id. at 163 (citation omitted).
   101
       Id. (citation omitted).

                                           - 30 -
  010646-11/2030303 V1
Case 2:17-cv-00699-BRM-RLS         Document 731-10       Filed 02/20/24    Page 47 of 82
                                    PageID: 31285




        Similarly here, the plaintiffs contend that no class member could have

discovered the claim before the initial complaint was filed (and that fraudulent

concealment applies) because the defendants hid their scheme as of that time. That

means that “the critical inquiry will be whether defendants successfully concealed

the existence of the alleged conspiracy, which proof will be common among the class

members in each class.”102

        The cases cited by the defendants stand for the unremarkable proposition that

certification “may be denied” when individual limitations issues predominate.103

And the defendants’ cases are inapposite.104 Finally, even if the plaintiffs fail to prove

that the discovery rule or fraudulent concealment doctrine tolls the limitations



  102
       Linerboard, 305 F.3d at 163; see also In re Cmty. Bank of N. Virginia Mortg.
Lending Pracs. Litig., 795 F.3d 380, 401 (3d Cir. 2015) (rejecting defendants’
argument that “the ‘actively misled’ and ‘reasonable due diligence’ components [of
fraudulent concealment for tolling the limitations period] will require individualized
fact finding, which undermines any claim of predominance”).
   103
       See Def. Br. at 55 (emphasis added).
   104
       See Barnes v. Am. Tobacco Co., 161 F.3d 127, 149 (3d Cir. 1998) (“determining
when a plaintiff’s claim accrued necessitates two individual inquiries for each
plaintiff: when he began smoking and how much he has smoked since then”);
Agostino v. Quest Diagnostics Inc., 256 F.R.D. 437, 467 (D.N.J. 2009) (“marked
variations among the state consumer fraud statutes with respect to, inter alia,
available remedies, ascertainable loss, limitations periods, coupled with the patient-
by-patient and contract-by-contract inquiries already required to determine liability,
destroy any modicum of Class cohesiveness,” without discussing tolling); In re Ford
Motor Co. E-350 Van Prods. Liab. Litig. (No. II), 2012 WL 379944, at *34 n.25 (D.N.J.
Feb. 6, 2012) (“the Court need not decide whether variations in state law would
make class litigation unmanageable, because the Court is persuaded that
predominance has been defeated for the independent reasons explained above”).

                                           - 31 -
  010646-11/2030303 V1
Case 2:17-cv-00699-BRM-RLS          Document 731-10       Filed 02/20/24     Page 48 of 82
                                     PageID: 31286




period, the proper course of action would be to limit the claims under each state’s

laws to losses suffered with the limitations period for each state, not to deny class

certification.

            d. The “other state-specific issues” identified by the defendants do not
               preclude certification.

        The few other “state-specific issues” discussed by the defendants do not

undermine class certification.105 First, the defendants erroneously claim that under

Maine law, the plaintiffs must show they were deceived into buying something they

would not otherwise buy. In the sole case the defendants cite, the court held that

charges for photographs were not “unfair” where a price difference of “as little as

$1.25 . . . would clearly be insubstantial . . . .”106 The court then separately held that

the “commission practice does not induce consumers to act to their detriment and is

not deceptive within the meaning of the UTPA.”107 Thus, the court did not hold that

to be “unfair,” a price must have induced a purchase. The defendants also falsely

claim that Indiana law only allows claims for deceptive acts.108 Section 24-5-0.5-3 of

the Indiana Code, which bars both unfair and deceptive acts, is entitled “Deceptive

acts.” Therefore, the reference to “deceptive acts” in Section 24-5-0.5-4 does not bar a


  105
      See Def. Br. at 56-59.
  106
      Tungate, 714 A.2d at 797.
  107
      Id.
  108
      Def. Br. at 56.

                                            - 32 -
  010646-11/2030303 V1
Case 2:17-cv-00699-BRM-RLS         Document 731-10      Filed 02/20/24   Page 49 of 82
                                    PageID: 31287




private action for unfair acts. Defendants ignore that in Gasbi, LLC v. Sanders,109 the

court reversed the dismissal of a claim under § 24-5-0.5-4 for an “unfair consumer

practice prohibited by the Consumer Act.”

        Second, the defendants contend that the proposed Colorado representative

bought his analog insulin before the Colorado Act was amended to bar “unfair

acts.”110 Whether the amendment is retroactive presents a common issue. And in

any event, the plaintiffs intend to substitute a new plaintiff (and proposed class

representative) from Colorado, for whom they will promptly provide discovery

responses and who will be made available for a deposition.111

        Third, the defendants erroneously argue that this Court cannot certify classes

under Colorado and Utah law because their “statutes do not authorize monetary

relief in class actions.”112 Numerous courts have held that Rule 23 supplants Utah’s

and Colorado’s limitations.113 The defendants cite cases to the contrary, but Third

  109
       120 N.E.3d 614, 617 (Ind. Ct. App. 2019).
   110
       See Def. Br. at 57.
   111
       See Johnson v. GEICO Cas. Co., 672 F. App’x 150, 157 (3d Cir. 2016) (“a court
may grant leave to substitute new representatives when a named class representative
becomes inadequate”).
   112
       Def. Br. at 57.
   113
       See Lessin v. Ford Motor Co., 2021 WL 3810584, at *15 (S.D. Cal. Aug. 25,
2021) (Colorado); In re Pork Antitrust Litig., 495 F. Supp. 3d 753, 790 (D. Minn.
2020) (Utah); Parrish v. Volkswagen Grp. of Am., Inc., 463 F. Supp. 3d 1043, 1062
(C.D. Cal. 2020) (Utah); Wilson v. Volkswagen Grp. of Am., Inc., 2018 WL 4623539,
at *14 (S.D. Fla. Sept. 26, 2018) (Utah); Andren v. Alere, Inc., 2017 WL 6509550, at
*21 (S.D. Cal. Dec. 20, 2017) (Colorado).

                                           - 33 -
  010646-11/2030303 V1
Case 2:17-cv-00699-BRM-RLS          Document 731-10        Filed 02/20/24    Page 50 of 82
                                     PageID: 31288




Circuit law undermines their argument. In Amato v. Subaru of America, Inc.,114 Judge

Rodriguez stated that courts “have disagreed on how to apply Shady Grove’s plurality

decision to class action bars where, as here, the class action bar is part of a specific

state statute.”115 Some courts “have adopted Justice Scalia’s categorical approach and

found that ‘Shady Grove instructs that state consumer protection class action bars do

not apply to those claims if brought as a class action under Federal Rule of Civil

Procedure 23.’” Judge Rodriguez then explained that “[w]hile the Third Circuit has

applied Shady Grove to class action bars like the one at issue here, it has endorsed

Justice Scalia’s approach elsewhere.”116 Judge Rodriguez then concluded that “[w]hile

the Nuveen court did not apply Shady Grove to Rule 23 or class-action bars contained

within state statutes, it implicitly found that district courts should follow Justice

Scalia’s approach when evaluating potential conflicts between federal rules and state

laws more broadly. Taking this approach and focusing only on the procedural or

substantive nature of Rule 23, it is clear that ‘Rule 23, not state law, governs the

availability of class action treatment of Plaintiff’s claims.’”117 Therefore, Defendants’


  114
      2021 WL 2154976 (D.N.J. May 27, 2021).
  115
      Id. at *7 (citing Shady Grove Orthopedic Assocs., P.A. v. Allstate Ins. Co., 559 U.S.
393 (2010)).
  116
      Id. (citing Nuveen Mun. Trust ex rel. Nuveen High Yield Mun. Bond Fund v.
WithumSmith Brown, P.C., 692 F.3d 283 (3d Cir. 2012); Interfaith Cmty. Org. v.
Honeywell Int’l, Inc., 726 F.3d 403, 409 (3d Cir. 2013)).
  117
      Id. at *8 (citation omitted).

                                             - 34 -
  010646-11/2030303 V1
Case 2:17-cv-00699-BRM-RLS         Document 731-10      Filed 02/20/24    Page 51 of 82
                                    PageID: 31289




argument that classes cannot be certified under Colorado and Utah law is incorrect.

        Fourth, the antitrust cases cited by the defendants do not support their

position that the Texas and Oklahoma statutes at issue bar indirect purchasers

actions.118 The defendants’ cases held that an antitrust claim dressed up as consumer

protection claim cannot avoid the indirect purchaser rule under antitrust law.119 But

here, the plaintiffs do not make antitrust claims masquerading as consumer

protection claims. Rather than alleging collusion, the plaintiffs explain that the

defendants engaged in shadow pricing wherein they carefully watched and then

copied each other’s price increases without any explicit agreement. And the

defendants do not show that those two states bar indirect purchaser claims in state-

law RICO cases, let alone that the plaintiffs’ claims for “unfair acts” are RICO

claims in disguise. Indeed, courts have dismissed RICO “indirect purchaser” claims

but nonetheless allowed Texas DTPA claims to proceed, and other courts have

allowed claims by indirect purchasers to proceed under the Oklahoma Act.120



  118
       Def. Br. at 58.
   119
       See Harris Cnty. v. Eli Lilly & Co., 2022 WL 479943, at *13 (S.D. Tex. Feb. 16,
2022) (plaintiff’s “conspiracy allegations ‘masquerade’ as ‘consumer protection’
claims despite mirroring ‘prohibited antitrust’ claims under federal law”); Sheet Metal
Workers Loc. 441 Health & Welfare Plan v. GlaxoSmithKline, PLC, 737 F. Supp. 2d
380, 420 (E.D. Pa. 2010) (indirect purchaser rule “preclude[s] the assertion of an
indirect purchaser's anti-competitive conduct claims under the OCPA”).
   120
       See, e.g., Counts v. Gen. Motors, LLC, 2022 WL 2079757, at *23 (E.D. Mich.
June 9, 2022) (dismissing RICO claim under “indirect purchaser” rule but declining


                                           - 35 -
  010646-11/2030303 V1
Case 2:17-cv-00699-BRM-RLS           Document 731-10       Filed 02/20/24    Page 52 of 82
                                      PageID: 31290



       3.        Any “ascertainable loss” requirement does not bar certification.

       Defendants wrongly argue that class members did not suffer ascertainable

losses in states requiring such proof.121 The defendants rely on Harnish v. Widener

University School of Law, in which the defendant allegedly “defrauded a putative class

of law students by publishing misleading statistics about its graduates’ employment,

which caused the students to pay ‘inflated’ tuition.”122 The plaintiffs claimed they

could “prove that all class members’ positions were worsened by the publication of

misleading employment statistics because [the defendant], as an efficient-market

actor responding to those statistics, charged everyone higher tuition, regardless of

whether the statistics impacted each individual class member’s decision-making as a

consumer.”123 The Third Circuit affirmed denial of class certification because

““recognizing ‘price inflation’ as a ‘cause’ of ‘ascertainable loss’ is essentially the

same as extending the fraud-on-the-market presumption to all consumer-fraud cases.

The practical effect of both theories is indeed the same, and both depend on the




to dismiss Texas DTPA claim even though “Defendants are upstream suppliers that
did not communicate with Plaintiff”); In re Takata Airbag Prod. Liab. Litig., 524 F.
Supp. 3d 1266, 1295 (S.D. Fla. 2021) (same); McAlister v. Ford Motor Co., 2015 WL
4775382, at *4 (W.D. Okla. Aug. 13, 2015) (declining to dismiss claim by consumer
against Ford for “unfair acts”).
   121
       Def. Br. at 59-62.
   122
       833 F.3d 298, 302 (3d Cir. 2016).
   123
       Id. at 311.

                                             - 36 -
  010646-11/2030303 V1
Case 2:17-cv-00699-BRM-RLS          Document 731-10        Filed 02/20/24    Page 53 of 82
                                     PageID: 31291




existence of an efficient market.”124

        In contrast, the plaintiffs’ “ascertainable loss” theory here is based on the

defendants’ unfair and unconscionable conduct, not fraud on the market caused by

misrepresentations. The defendants directly set the list prices that the plaintiffs pay,

and they knew that the class members would bear their list price inflation. Whether

there is an efficient market for insulin retail prices is irrelevant.

        In a similar case, the court held that “price inflation allegations” under the

NJCFA did not “implicate a ‘fraud on the market’ approach.”125 The court explained

that the plaintiff “does not allege that she suffered a loss because AEG made false

remarks, for example, in promoting the concerts, which were reflected in the

artificially high price paid by Pollard for tickets.”126 Instead, the plaintiff alleged “that

AEG wrongfully manipulated the market for tickets to the concerts by withholding

an amount of tickets in excess of the amount permitted by Section 35.1 and thus

drove up the ticket price by reducing the supply available to the general public.”127

Similarly here, the plaintiffs do not contend that the defendants defrauded the

market but instead that the defendants set unfairly inflated list prices, knowing that



  124
      Id. at 312.
  125
      Pollard v. AEG Live, LLC, 2014 WL 4637017, at *6 (D.N.J. Sept. 16, 2014).
  126
      Id.
  127
      Id.

                                             - 37 -
  010646-11/2030303 V1
Case 2:17-cv-00699-BRM-RLS              Document 731-10    Filed 02/20/24    Page 54 of 82
                                         PageID: 31292




certain consumers—the class here—would pay those inflated prices. As in Pollard, that

theory does not implicate a “fraud on the market” approach.128

E.         The plaintiffs’ damages model reliably measures class-wide injury and
           damages.

           1.       Dr. Rosenthal’s structural break method reliably measures when the
                    class period begins by analyzing the effects of defendants’ conduct.

           The defendants’ attack on Dr. Rosenthal’s damages model begins with a

misconception. The structural break (or trend break) analysis does not attempt to

determine the unfairness or lawfulness of defendants’ actions. The jury will decide

that. What the structural break test does is determine the class period. Several courts

have upheld the test for this purpose.129

           In antitrust cases, for example, the test evaluates when some significant

change in pricing or production occurs.130 This result can then be compared to the



     128
       Defendants cite a litany of cases regarding ascertainable loss, see Def. Br. at 61
n.18, but none of those cases addresses whether the types of unfair acts at issue here
resulted in ascertainable losses.
   129
       E.g., In re Broiler Chicken Antitrust Litig., 2022 WL 1720468, at *8-10 (N.D. Ill.
May 27, 2022) (admitting expert testimony of structural break test to determine class
period); In re Syngenta AG MIR 162 Corn Litig., 2016 WL 5371856, at *10 (same); In
re Rail Freight Fuel Surcharge Antitrust Litig., 292 F. Supp. 3d 14, 57 (D.D.C. 2017),
aff’d, 934 F.3d 619 (D.C. Cir. 2019) (same).
   130
       E.g., In re Broiler Chicken Antitrust Litig., 2022 WL 1720468, at *8 (examined
when the “historic decrease in Broiler production” occurred in the market relative to
trends from 2000 to 2020); In re Syngenta AG MIR 162 Corn Litig., 2016 WL
5371856, at *10 (analysis looked at “historic break” between corn prices and milo
prices); In re Rail Freight Fuel Surcharge Antitrust Litig., 292 F. Supp. 3d at 57
(relationship between freight rates and fuel prices).

                                               - 38 -
     010646-11/2030303 V1
Case 2:17-cv-00699-BRM-RLS        Document 731-10      Filed 02/20/24   Page 55 of 82
                                   PageID: 31293




evidence of conduct alleged to determine if that conduct caused the sudden change.

That’s no different than how Dr. Rosenthal uses it here.

       Plainly, something changed about the way in which defendants price insulin.

The Senate investigation, media coverage, and defendants’ admissions stand proof of

that. The structural break test simply measures with scientific precision when that

change occurred. The jury may then investigate what the defendants did to cause

that trend break and can decide the lawfulness of that conduct from there.

       Of course, substantial evidence shows what caused the change is not a

mystery, undermining the defendants’ attempt to cast doubt on plaintiffs’ theory of

the unlawful conduct. All three defendants faced downward pricing pressures, with

interchangeable products and exclusive formularies becoming the norm. Yet, each

defendant subverted this competitive environment, took advantage of their captive

market, and aggressively raised list prices. The defendants could get away with such

conduct because they raised prices in tandem and then offered PBMs enormous

rebates—kickbacks that demonstrate the genuine, stagnant value the defendants

perceived their insulins to hold. And they did so despite knowing the financial

difficulty it would cause the consumer class here.

       The defendants nevertheless assert there’s no difference between conduct

before and after the trend break because rebates are generally lawful. But the drug

manufacturers oversimplify their characterization of the relevant conduct to obscure

                                          - 39 -
  010646-11/2030303 V1
Case 2:17-cv-00699-BRM-RLS           Document 731-10      Filed 02/20/24    Page 56 of 82
                                      PageID: 31294




the fact that “rebates are lawful” and “defendants’ behavior was unlawful” are not

mutually exclusive ideas. Speech is also generally lawful; that doesn’t mean it’s a

defense to a charge of defamation. State legislatures have granted power to the jury

to decide the line between legally fair and unfair conduct, and whether defendants

consider that line arbitrary does not matter.

        2.       Class action plaintiffs routinely use averages to prove damages, as
                 plaintiffs validly do here.

        The defendants maintain that using averages to prove damages may conceal

“individualized differences” among class members.131 Yet, they gloss over the many

cases where experts use averages and courts reject similar challenges.132 Nor do they

explain how Dr. Rosenthal’s use of averages here bears any resemblance to any case

they cite. The direct tie between list price and injury differentiates Dr. Rosenthal’s

model here from those relating to the delayed entry of generic drugs in Niaspan and



  131
       See Def. Br. at 68.
   132
       See, e.g., In re Cathode Ray Tube (CRT) Antitrust Litig., 308 F.R.D. 606, 628
(N.D. Cal. 2015) (“[A]ttacking averaged data is a standard defense tactic . . . so it is
unsurprising that courts have often evaluated and approved the appropriate use of
averages.”); In re Lamictal Indirect Purchaser & Antitrust Consumer Litig., 2018 WL
6567709, at *6-7 (D.N.J. Dec. 12, 2018) (“the fact that some [ ] purchasers were
injured more or less strongly than others is not only permitted, but is a reason for
why averages are appropriate in the damages calculation”); In re Disposable Contact
Lens Antitrust, 329 F.R.D. 336, 389 (M.D. Fla. 2018) (“The use of averages to prove
common impact to a putative class is accepted.”); In re Static Random Access Memory
Antitrust Litig., 264 F.R.D. 603, 614 (N.D. Cal. 2009) (“the use of averaged and
aggregated data is not fatal”); see also NEWBERG ON CLASS ACTIONS § 4:54; § 11:6
(explaining same).

                                             - 40 -
  010646-11/2030303 V1
Case 2:17-cv-00699-BRM-RLS          Document 731-10         Filed 02/20/24   Page 57 of 82
                                     PageID: 31295




Sheet Metal Workers, where there were not such direct ties for payer preferences.133

        Specifically, Dr. Rosenthal uses averaged monthly cash prices to prove “that

cash prices are a function of list prices” by showing how strongly cash prices at

pharmacies overall correlate to list prices set by defendants over time.134 And she uses

average net prices as a yardstick by which to compare list prices in the actual and but-

for worlds.135 The defendants retort that Dr. Rosenthal must consider each pharmacy

U&C cash price or rebate, but in an argument that’s purposefully opaque, they fail

to explain why that’s so or what individualized differences among class members

average cash and net prices purportedly conceal. Rather than conceal, the statistics

provided by Dr. Rosenthal use common evidence to show when and if there was a

break in the market, which supports predominance. The yardstick that she has

presented can be used here as well as be introduced in an individual case to sustain a

jury’s finding of injury, which is all that is needed.136



  133
      See, e.g., In re Niaspan Antitrust Litig., 464 F. Supp. 3d 678, 712 (E.D. Pa. 2020);
Sheet Metal Workers Loc. 441 Health & Welfare Plan v. GlaxoSmithKline, PLC, 2010 WL
3855552, at *30 (E.D. Pa. Sept. 30, 2010).
  134
      Rosenthal Rebuttal ¶ 34.
  135
      Rosenthal Report ¶ 58.
  136
     See Tyson Foods, Inc. v. Bouaphakeo, 577 U.S. 442, 450 (2016) (affirming verdict
against the defendant in class action and holding that representative proof from a
sample, based on an expert witness’s estimation of average time that employees spent
donning and doffing protective gear, could be used to show predominance of
common questions of law or fact).

                                            - 41 -
  010646-11/2030303 V1
Case 2:17-cv-00699-BRM-RLS            Document 731-10       Filed 02/20/24    Page 58 of 82
                                       PageID: 31296




        As explained in Dr. Rosenthal’s rebuttal report, just because variation exists

among cash prices and rebates to PBMs doesn’t mean such differences matter to

class members or their injuries. What matters is that a change in the list price

produces a proportional change in the prices paid by patients regardless of these so-

called variations.137 In other words, Persons A and B may have different insurance,

with one paying 75% of AWP and the other 80%, but both still would pay 10% less

if the list price were 10% less.138 The purportedly concealed individualized

differences are imagined. And Dr. Rosenthal’s use of averages is permissible.

        3.       Benefit-of-the-bargain damages do not require the plaintiffs to suffer
                 an ascertainable loss as a result of deception; it suffices that plaintiffs
                 suffered an ascertainable loss as a result of an unconscionable act.

        The defendants incorrectly aver that “the only surviving ‘legal theory of the

harmful event’” is a “‘benefit of the bargain’ loss caused by a misrepresentation.”139

In fact, this Court held that “Plaintiffs have adequately pled an ascertainable loss

pursuant to the ‘benefit-of-the-bargain’ theory, as they contend that they were

‘unfairly deprived of the benefit of the bargain’ as they paid more than their pro-rata

share of the net prices of the subject insulin.”140 Similarly, the New Jersey Supreme



  137
      Rosenthal Rebuttal ¶ 34.
  138
      Id.
  139
      Defs.’ Br. at 73 (citation omitted).
  140
      Op. (Feb. 15, 2019), at 30 (ECF No. 252) (emphasis added).

                                               - 42 -
  010646-11/2030303 V1
Case 2:17-cv-00699-BRM-RLS         Document 731-10      Filed 02/20/24    Page 59 of 82
                                    PageID: 31297




Court has applied the benefit-of-the-bargain standard to a claim for unconscionable

conduct. In D’Agostino v. Maldonado, the New Jersey Supreme Court explained that

“[o]ur cases distinguish between a plaintiff who can demonstrate no loss—be it an

out-of-pocket loss or the loss of the value of his or her interest in property—and a

plaintiff who can demonstrate that he or she has been deprived of the ‘benefit of the

bargain’ because of a CFA violation.”141 The Court held that if “an unconscionable

commercial practice has caused the plaintiff to lose money or other property, that

loss can satisfy both the ‘ascertainable loss’ element of the CFA claim and constitute

‘damages sustained’ for purposes of the remedy imposed under the CFA.”142

        Similarly here, Dr. Rosenthal’s damages model captures the inflationary effect

of defendants’ conduct, which caused class members to suffer benefit-of-the-bargain

damages.143 The defendants harp that “[s]he concedes that she has not attempted to




  141
       216 N.J. 168, 190 (2013).
   142
       Id. at 192-93.
   143
       The cases cited by Defendants are inapposite. See, e.g., Simmons v. Ford Motor
Co., 2022 WL 845127, at *17 (S.D. Fla. Mar. 21, 2022) (because “repair cost”
damage model was invalid under New York law, which requires that defect be
manifested, and under Florida law, which does not cover repair costs, “Plaintiffs do
not have a valid class-wide measure of damages due to differences in how damages
are calculated under each respective state law”); BlackRock Balanced Cap. Portfolio (FI)
v. Deutsche Bank Nat’l Tr. Co., 2018 WL 5619957, at *13 (S.D.N.Y. Aug. 7, 2018)
(“Dr. Hartzmark’s model awards each current noteholder damages designed to
compensate for all harm over a note’s entire history, not just those that accrued
during the noteholder’s ownership.”).

                                           - 43 -
  010646-11/2030303 V1
Case 2:17-cv-00699-BRM-RLS            Document 731-10      Filed 02/20/24    Page 60 of 82
                                       PageID: 31298




‘measure injury caused by alleged misrepresentations.’”144 But, as in D’Agostino, her

analysis validly rests on unfair and unconscionable conduct, so Defendants’

argument is irrelevant.

F.         The plaintiffs use a wealth of detailed PBM and pharmacy transactional
           data to identify the class members.

           Defendants claim that the proposed classes are not ascertainable. They don’t

argue that plaintiffs have failed to define the classes by objective criteria. Instead,

they contend plaintiffs cannot identify those class members. Defendants are wrong.

           Plaintiffs’ class definitions include all who bought defendants’ analog insulins

in the class period based on list price. As a practical matter, this means anyone who

purchased without using Medicaid, a copay, or assistance from one of the

defendants’ programs. Most of the data identifies such transactions straightaway.

           Most of the pharmacy and PBM data have a column that identifies

transactions under Medicaid.145 And even if they don’t, it’s not “impossible” for Dr.

Rosenthal to exclude these transactions, as the defendants claim. Dr. Rosenthal can

identify Medicaid transactions by plan name (there are only a handful of Medicaid




     144
         Def. Br. at 72.
     145
         Rosenthal Report ¶ 106; Rosenthal Rebuttal ¶ 56.

                                              - 44 -
     010646-11/2030303 V1
Case 2:17-cv-00699-BRM-RLS         Document 731-10       Filed 02/20/24    Page 61 of 82
                                    PageID: 31299




plans in each state146) or the amount paid (Medicaid copays are set by law147).

        As for copays, these payments are almost exclusively round-dollar amounts. As

a result, Dr. Rosenthal can distinguish copays through a method that has been both

tested to prove its near perfect accuracy and corroborated by industry

professionals.148 In response, the defendants complain that some insurance plans

don’t have flat copays. But they ignore three critical points. First, such plans are

extremely rare, meaning patients paying an odd copay amount represent a very small

number to begin with.149 Second, Dr. Rosenthal can still identify this small number of

odd-copay purchasers using her method.150 Third, Dr. Rosenthal’s method is very

conservative, negating claims of prejudice or overinclusiveness by defendants.151

        Similarly, the administrators of the defendants’ patient assistance programs


  146
       See, e.g., Table 5, M EDICAID M ANAGED C ARE E NROLLMENT AND P ROGRAM
C HARACTERISTICS (2018), at 33, https://www.medicaid.gov/Medicaid/downloads/
medicaid-mc-enrollment-report.pdf; see also Supplemental Declaration of Mark D.
Fischer of Rawlings Analytics, LLC (“Fischer Supp. Decl.”) ¶ 7 (Exhibit 2 to the
Berman Reply Decl.).
   147
       See State Medicaid Copay Requirements, available at
https://www.kff.org/other/state-indicator/state-medicaid-pharmacy-copay-
requirements/?currentTimeframe=0&sortModel=%7B%22colId%22:%22Location
%22,%22sort%22:%22asc%22%7D.
   148
       Rosenthal Rebuttal ¶ 54.
   149
       Id. ¶¶ 54, 122.
   150
       Id. ¶ 54.
   151
       Id. See City Select Auto Sales v. BMW Bank of N. Am., Inc., 867 F.3d 434, 442 n.4
(3d Cir. 2017) (“While a high degree of over-inclusiveness could prevent certification,
any degree of over-inclusiveness will not do so.”).

                                           - 45 -
  010646-11/2030303 V1
Case 2:17-cv-00699-BRM-RLS           Document 731-10     Filed 02/20/24   Page 62 of 82
                                      PageID: 31300




maintain data going back years that identify every patient who paid using one of

defendants’ programs.152 Dr. Rosenthal can merge this data with PBM and pharmacy

transactional data to exclude any necessary transactions.153 Altogether, Dr.

Rosenthal’s ability to parse out these exclusions leave her free to ascertain the class

from the remainder of the transactional data.

        1.       Defendants mischaracterize the Third Circuit’s ascertainability
                 requirements.

        The Third Circuit has cautioned that “[i]f defendants intend to challenge

ascertainability, they must be exacting in their analysis and not infuse the

ascertainability inquiry with other class-certification requirements.”154 The

defendants do not heed this admonishment. Nor do they heed the Third Circuit’s

most recent guidance, instead relying outdated authority.

        First, the defendants unsuccessfully attempt to distinguish the Third Circuit’s

most recent decision—Hargrove v. Sleepy’s—which refutes many of their core

arguments. They suggest that a “complex” class definition with exclusions warrants a

heightened ascertainability standard, different from that applied in Hargrove.155 The

  152
      See Mink Decl. ¶ 10 (ECF No. 525-1, Exhibit 17); Wetzel Decl. ¶10 (ECF No.
ECF No. 525-1, Exhibit 16).
  153
      Fischer Supplemental Decl. ¶¶ 4-6.
  154
      Byrd v. Aaron’s Inc., 784 F.3d 154, 165 (3d Cir. 2015). Byrd further states that
“we address class definition and ascertainability as separate inquiries.” Id. at 168.
  155
      See Defs.’ Br. at 74-75 (claiming Hargrove v. Sleepy’s LLC, 974 F.3d 467 (3d Cir.
2020), does not control because this case is more “complex”).

                                            - 46 -
  010646-11/2030303 V1
Case 2:17-cv-00699-BRM-RLS          Document 731-10       Filed 02/20/24    Page 63 of 82
                                     PageID: 31301




Third Circuit didn’t limit Hargrove to smaller class actions or simpler classes.156

Hargrove controls here. Niaspan similarly does not support the defendants’ claim;

Niaspan simply explains that if there are exclusions from the class, plaintiffs must

have an administratively feasible method for applying them.157 This statement is in

no way evidence of a heightened standard.158

        Second, defendants concoct a new ascertainability rule that would require

plaintiffs to use some single, centralized source of data to identify the class. Even

though the defendants cite Carrera, the Third Circuit has refuted the notion that its

older decisions lend themselves to such “exacting” interpretations.159 The Third

Circuit has placed no limitation on the kinds of evidence that can be used to

ascertain a class, other than requiring class members to use more than mere say-so.160

Plaintiffs “can use a combination of records,” whether from the defendants, the

public, nonparties, or class members.161

  156
       See generally Hargrove v. Sleepy’s LLC, 974 F.3d 467 (3d Cir. 2020).
  157
       See In re Niaspan Antitrust Litig., 555 F. Supp. 3d 155, 163 (E.D. Pa. 2021)
(‘Niaspan II”).
   158
       See, e.g., Hargrove, 974 F.3d at 477; Byrd, 784 F.3d at 165.
   159
       Hargrove, 974 F.3d at 479 (reversing district court for “essentially demand[ing]
that [plaintiffs] identify the class members at the certification stage . . . [because] all
that is required is that [they] show there is a ‘reliable and administratively feasible
mechanism.’”) (emphasis added).
   160
       Byrd, 784 F.3d at 164.
   161
       Afzal v. BMW of N. Am., LLC, 2020 WL 2786926, at *8 (D.N.J. May 29, 2020);
Hargrove, 974 F.3d at 479 (“Affidavits, in combination with records or other reliable


                                            - 47 -
  010646-11/2030303 V1
Case 2:17-cv-00699-BRM-RLS         Document 731-10      Filed 02/20/24    Page 64 of 82
                                    PageID: 31302




       Third, ascertainability doesn’t require identifying all class members “now.”162

The defendants flout Third Circuit guidance when they attack the plaintiffs’ use of

sample data. Plaintiffs “do not have to prove at this stage that each proposed class

member was indeed [a member of the class], but only that the members can be

identified. [The plaintiffs] have done exactly that by presenting large samples of

[relevant data].”163 The Third Circuit has found classes “ascertainable even though

no evidence . . . had been submitted because [it] could imagine the types of evidence

that could be identified and used.”164

       This Court need not use its imagination because the plaintiffs have culled,

analyzed, and produced sufficient data to demonstrate their method works. They

have data from the country’s largest PBMs and pharmacies, who collectively

represent the overwhelming majority of all prescriptions filled. The plaintiffs’

reliance on deidentified samples of data reflects negotiations to alleviate the burdens

on nonparties, protect the privacy of absent class members, and conserve resources.

It does not leave the Court to “speculate” about uncollected data. The defendants

don’t explain why data samples won’t suffice to demonstrate the plaintiffs’ ability to




and administratively feasible means, can meet the ascertainability standard.”).
  162
      Defs.’ Br. at 75-76.
  163
      Hargrove, 974 F.3d at 480 (emphasis added).
  164
      Id. (emphasis added).

                                           - 48 -
  010646-11/2030303 V1
Case 2:17-cv-00699-BRM-RLS         Document 731-10      Filed 02/20/24   Page 65 of 82
                                    PageID: 31303




identify class members as a whole using the same method and comparable data.165

        2.       Dr. Rosenthal can remove class members who used manufacturer
                 coupons and need not remove class members who used pharmacy
                 coupons.

        The defendants’ theory that the proposed class contains large numbers of

uninjured members rests on two faulty premises: (1) the plaintiffs must speculate as

to the existence of transactional data for manufacturer coupon programs; and (2)

those who used point-of-sale pharmacy coupons did not overpay for insulin.166

        Regarding the first contention, the defendants acknowledge such data exists,

and the program administrators they hired submitted declarations attesting to the

same.167 Those declarations also confirm the coupon data will contain all the

information necessary to connect them to the transactional data.168

        As to the second contention, pharmacy programs do not shield patients from

the inflated list prices. The defendants name several pharmacies where customers

may have received discounts, but each merely reduces the retail price by some



  165
       To the extent the defendants point to the small number of uninsureds
identified in the data, this is patently misleading. These are partial datasets and
samples of data, some of which fully omitted cash transactions. And regardless, Dr.
Rosenthal needn’t “distinguish uninsured transactions from insured transactions in
which the consumer paid the full price” because in both instances, “the price paid by
the consumer is tied to the list price.” See Rosenthal Rebuttal ¶¶ 26-27.
   166
       See Def. Br. at 86-89.
   167
       See Mink Decl. ¶ 10; Wetzel Decl. ¶10.
   168
       See Mink Decl. ¶ 11; Wetzel Decl. ¶11.; Fischer Supplemental Decl. ¶¶ 9-10.

                                           - 49 -
  010646-11/2030303 V1
Case 2:17-cv-00699-BRM-RLS           Document 731-10       Filed 02/20/24    Page 66 of 82
                                      PageID: 31304




modest percentage, meaning these class members still overpaid; paying 85% of an

overcharge is still overpaying.169 And because the data already reflect these discounts

(e.g., the patient paid amount will be exactly 85% of U&C), the plaintiffs do not

need to subpoena additional nonparties to determine whether one was applied.

Moreover, financial assistance from non-parties amount to collateral sources that do

not offset plaintiffs’ injuries.170 So these class members have been harmed regardless,

and as a matter of law, such transactions wouldn’t need to be excluded anyway.

        3.       The plaintiffs proposed methods of ascertaining the class meet the
                 Third Circuit’s requirement.

        First, the defendants’ characterization of the plaintiffs’ class exclusions as

“arbitrary”171 ignores the factual basis for this case. The plaintiffs tie their class

definition to the allegation that defendants have unlawfully manipulated their list

prices. As a result, those who make coinsurance payments are in the classes, while

those who make copayments are out, because the former transaction is tied to list price

and the other is not. Certain Medicare transactions are in and Medicaid transactions

are out for the same reason. Outside financial assistance is in and manufacturer

assistance programs are out because the former doesn’t shield the class from paying

based on list price. Furthermore, third-party funds are irrelevant as collateral sources.

  169
      Rosenthal Rebuttal ¶¶ 28-31.
  170
      See supra note 21.
  171
      See Def. Br. at 74.

                                             - 50 -
  010646-11/2030303 V1
Case 2:17-cv-00699-BRM-RLS         Document 731-10      Filed 02/20/24    Page 67 of 82
                                    PageID: 31305




These distinctions are rooted in the misconducted at issue.

        Second, the defendants’ insistence that the plaintiffs subpoena all 66,000

pharmacies in the United States overlooks the reality of the pharmaceutical supply

industry.172 The largest national pharmacy chains, subpoenaed in this litigation,

account for more than 70% of pharmaceutical sales.173 The largest PBMs, also

subpoenaed, represent approximately 96% of insured Americans.174 Given the

enormous overlap in that data, few purchasers could conceivably slip through the

cracks. And for those that do, plaintiffs’ trial plan accounts for them: class members

who have made purchases at non-chain (or small chain) pharmacies without

insurance can come forward with records of their purchases.175 This proposed

method accounts for all class members.176 And the defendants cite no authority that

demands the plaintiffs do more.




  172
       See Def. Br. at 77.
   173
       Rosenthal Rebuttal ¶ 6.
   174
       Id.
   175
       See Pls.’ Trial Plan (ECF No. 525-1, Exhibit 4).
   176
       Still, nothing prevents the Court from limiting the class to purchases through
the largest national PBMs and pharmacies if it so chooses, as there is no
“‘underinclusivity’ standard [in] the ascertainability requirement.” Byrd, 784 F.3d at
167. The Third Circuit has been clear: the “ascertainability standard is neither
designed nor intended to force all potential plaintiffs who may have been harmed in
different ways by a particular defendant to be included in the class in order for the
class to be certified.” Id.

                                           - 51 -
  010646-11/2030303 V1
Case 2:17-cv-00699-BRM-RLS           Document 731-10      Filed 02/20/24    Page 68 of 82
                                      PageID: 31306



        4.       Price differences have nothing to do with ascertainability.

        The defendants also contend it’s impossible to ascertain a class because factors

other than list price sometimes affect the purchase price.177 The latter may be true,

but plaintiffs define the class to include transactions where “any portion of the

purchase price” was calculated by reference to a list price, not transactions calculated

solely by reference to list price. Defendants’ injection of a nonexistent limitation into

the plaintiffs’ class definition proves nothing, and Dr. Rosenthal demonstrates the

misleading nature of their argument.

        First, the defendants’ expert, Dr. Baker, uses charts to falsely exaggerate

variability in retail prices at a given points in time. Defendants can’t escape the fact

that the correlation coefficient between list prices and retail prices is extraordinarily

high for every drug, proving the strength of the relationship between the two.178

Second, defendants ignore economic realities. Pharmacies sell analog insulin as a

percentage of AWP and economic reasons force those pharmacies to peg their retail

prices to list prices.179 Third, even where there may be variation among individual


  177
      Defs.’ Br. at 79-80.
  178
      Rosenthal Rebuttal ¶¶ 44, 51.
  179
      Rosenthal Rebuttal ¶ 24; see Pls.’ Br., n.63-66; see




                                             - 52 -
  010646-11/2030303 V1
Case 2:17-cv-00699-BRM-RLS            Document 731-10      Filed 02/20/24     Page 69 of 82
                                       PageID: 31307




pharmacies’ cash prices, that means nothing. All patients still “would have paid 10%

less if the AWP were 10% less” because “[w]hat matters is that a change in the AWP

would have produced a proportional change in the cash prices paid by different

patients.”180 In short, the defendants’ attempt to deem the plaintiffs’ method

impossible requires the court to accept exaggerated representations of data, dismiss

fundamental limitations on pharmacy pricing, and spurn basic math.

G.         Class certification is a superior means of resolving the claims.

           The defendants argue a class action is not the superior means of resolving this

case, yet they omit a vital part of the analysis—to what is it not superior? The

defendants don’t address whether individual actions are feasible or practical, let

alone superior. And they wholly ignore the “[e]conomic reality” that this case either

moves forward as “a class action or not at all.”181 This is fatal to their position.

Superiority “‘asks the court to balance . . . the merits of a class action against those

of alternative available methods of adjudication.’”182 Without so much as hinting what


                Berman Reply Decl. Exhibit 4


     180
       Rosenthal Rebuttal ¶ 34.
     181
       Eisen v. Carlisle & Jacquelin, 417 U.S. 156, 161 (1974).
   182
       In re NFL Players Concussion Inj. Litig., 821 F.3d 410, 434 (3d Cir. 2016)
(citation omitted). See also Fed. R. Civ. P. 23(b)(3) (class action must be found
“superior to other available methods”) (emphasis added); In re Cmty. Bank, 795 F.3d
at 409 (“[Defendant] does not consider the tremendous burden [of] presiding over
tens of thousands of nearly identical cases . . . .”).

                                               - 53 -
     010646-11/2030303 V1
Case 2:17-cv-00699-BRM-RLS          Document 731-10        Filed 02/20/24   Page 70 of 82
                                     PageID: 31308




those alternative available methods are, the defendants have no leg to stand on.

        The omissions in the defendants’ arguments don’t stop there. They don’t even

address the first three superiority factors of Rule 23(b)(3), which plaintiffs explain in

the opening brief. Instead, the defendants discuss only the fourth factor, considering

“the likely difficulties in managing a class action.”183 By doing so, the defendants

concede the first three factors. And they provide not one example of a court denying

certification based entirely on the fourth—manageability concerns.

        In any event, the purported manageability concerns lack merit. To start, the

defendants are wrong that the class claims “require applying at least twenty states’

varying legal standards, which itself forecloses certification.”184 As shown already, a

jury need only consider three legal standards if this Court certifies all proposed

classes: (1) “unconscionability” under New Jersey law; (2) the three-part FTC test for

“unfair” acts under the laws of sixteen states; and (3) “unconscionability” under

Texas law. That stands in stark contrast to the four cases the defendants cite, which

required application of the laws of all fifty States.185



  183
       See Rule 23(b)(3)(D).
  184
       Def. Br. at 90.
   185
       See Powers v. Lycoming Engines, 328 F. App’x 121, 124 (3d Cir. 2009)
(attempting to multistate nationwide classes involving laws of all fifty states); In re
Actiq Sales & Mktg. Pracs. Litig., 307 F.R.D. 150, 168 (E.D. Pa. 2015) (same); Payne v.
FujiFilm U.S.A., Inc., 2010 WL 2342388, at *9 (D.N.J. May 28, 2010) (same); Chin v.
Chrysler Corp., 182 F.R.D. 448, 454, 455 (D.N.J. 1998) (same).

                                             - 54 -
  010646-11/2030303 V1
Case 2:17-cv-00699-BRM-RLS          Document 731-10       Filed 02/20/24    Page 71 of 82
                                     PageID: 31309




        The defendants also list a series of supposed factual issues that bar a finding of

manageability.186 But by rehashing flawed predominance and commonality

arguments, the defendants condemn them to the same fate187—not that any of these

points legitimately raise manageability issues. First, the fact that this case involves

“three different manufacturers that engaged in distinct conduct and made their own

pricing decisions”188 means nothing where courts routinely manage trials with far

more than three defendants. And it means even less when the defendants here

concede the conduct is undisputed.189 Second, the defendants provide no reason why

the existence of “66 different PBMs, consumers who made purchases at more than

60,000 pharmacies, and potentially hundreds of thousands of insurance plans”190

impacts manageability. None of those facts require individualized inquiries. And any

pharmaceutical class action must involve large numbers of consumers and navigate

the complex industry. Third, Dr. Rosenthal provides common evidence as to why

“prices for the products at issue became unlawful at different points in time,”191


  186
       See Def. Br. at 90-91.
   187
       See In re Cmty. Bank, 795 F.3d at 409 (“Because we have concluded that the
District Court cannot be faulted for deciding that the commonality and
predominance requirements for class certification have been satisfied, this tag-along
argument fails.”).
   188
       Def. Br. at 90.
   189
       Def. Br. at 94.
   190
       Def. Br. at 91.
   191
       Def. Br. at 91.

                                            - 55 -
  010646-11/2030303 V1
Case 2:17-cv-00699-BRM-RLS          Document 731-10       Filed 02/20/24    Page 72 of 82
                                     PageID: 31310




negating any manageability concern raised by the defendants. Fourth, the defendants

may attempt to introduce evidence of affordability programs and coupons, but they

do not explain why such efforts would prove unmanageable, especially given that (1)

data allows the plaintiffs to exclude transactions under defendants’ programs; (2) the

pharmacy data already reflects coupons applied; and (3) third-party contributions

amount to irrelevant collateral payments.

         With neither logic nor law on their side, defendants resort to hyperbole,

characterizing this case as a “mind-boggling undertaking.” But their “mind-boggling”

quotation comes from a securities case, Newton v. Merrill Lynch, Pierce, Fenner & Smith,

Inc.,192 that “require[d] proof of the circumstances surrounding each trade, the

available alternative prices, and the state of mind of each investor at the time the

trade was requested.” As the Third Circuit later explained in Linerboard,193 the

“Newton court was staring a situation in the face where they would necessarily

examine every stock purchase or sale because not every member of the putative class

was injured.” This case mirrors Linerboard because “all purchasers” are injured where

“[t]hey were all affected by the increased price . . . reflected in the price paid by

plaintiffs.”194


   192
       259 F.3d 154, 187 (3d Cir. 2001).
   193
       305 F.3d at 158.
   194
       Defendants cite another inapposite case in which the jury would “be required


                                            - 56 -
   010646-11/2030303 V1
Case 2:17-cv-00699-BRM-RLS          Document 731-10     Filed 02/20/24    Page 73 of 82
                                     PageID: 31311




       Nor is there any merit to the defendants’ assertion that “‘a separate

evidentiary hearing is required for each class member’s claim.’”195 In Pastor, the court

found that “[i]ndividual hearings would be necessary to determine whether a class

member made a claim for his $10 a day, whether his car was unusable, and if so for

how long.”196 In contrast, individual hearings are not required here, because injured

class members can be ascertained from the extensive data that is available.

H.     Plaintiffs satisfy Rule 23(a).

       1.        The question concerning the lawfulness of the defendants’
                 “undisputed” conduct alone satisfies commonality.

       The defendants’ argument against commonality rests on a fundamental

misstatement of the plaintiffs’ theory, something they repeat throughout their

briefing. The central question in this case asks not whether some threshold

monetary amount to buy insulin is unfair, but whether the defendants’ conduct in

setting benchmark insulin list prices was unfair. Reframed in this manner—the one

dictated by the statutes themselves—the question necessarily drives common answers.

It asks what the defendants did and what the defendants knew. And those answers won’t



to determine for each class member whether he or she is addicted to cigarettes, and,
if so, whether defendants (and which defendant) caused that addiction.” Arch v. Am.
Tobacco Co., 175 F.R.D. 469, 489 (E.D. Pa. 1997).
    195
        Def. Br. at 91 (quoting Pastor v. State Farm Mut. Auto. Ins. Co., 487 F.3d 1042,
1047 (7th Cir. 2007)).
    196
        487 F.3d at 1046.

                                           - 57 -
  010646-11/2030303 V1
Case 2:17-cv-00699-BRM-RLS          Document 731-10       Filed 02/20/24    Page 74 of 82
                                     PageID: 31312




change plaintiff-to-plaintiff. This alone satisfies the common issues requirement of

Rule 23(a), as the plaintiffs need only share “one question of fact or law” with the

class, a prerequisite deemed “easy enough” by this Circuit.197

        The defendants can’t get around this by pointing out that their conduct is

undisputed. That may be, but the central legal question—whether that conduct was

unlawful—is not. To hold millions of trials on the legality of the defendants’ behavior

just because the parties don’t dispute some underlying facts makes no sense.

        To challenge the rest of the common questions posed in the plaintiffs’

opening brief, the defendants lean on a blanket statement that this “is not a case

where the same conduct has given rise to the same harm.”198 Yet they admit just

sentences later that the relevant pricing conduct is undisputed as to all the class.199

And the harm that every class member incurred—overpaying for analog insulin—

follows directly from that conduct because list prices drive the class’s retail prices.

        Thus, the defendants’ reliance on a sex discrimination case is misguided. In

Wal-Mart Stores, Inc. v. Dukes,200 “the class of female employees faced different

managers,” making the relevant employment decisions “discretionary,” “different,”


  197
      In re NFL Players Concussion Inj. Litig., 821 F.3d at 426-27 (citation omitted and
emphasis added).
  198
      Defs.’ Br. at 93.
  199
      Defs.’ Br. at 94.
  200
      564 U.S. 338 (2011).

                                            - 58 -
  010646-11/2030303 V1
Case 2:17-cv-00699-BRM-RLS           Document 731-10     Filed 02/20/24   Page 75 of 82
                                      PageID: 31313




and sometimes “nondiscriminatory.”201 It’s not difficult to see the difference

between Wal-Mart and this case. The defendants here set only one list price for all,

which in turn increases the price each class member pays.202

        2.       Victims of an excessive overcharge who trace their injuries to the
                 same practice are both typical and adequate class representatives.

        A recent decision by the Third Circuit rebuts the defendants’ argument that

the named plaintiffs, who are insured, cannot adequately represent uninsured class

members. In Boley v. Universal Health Services, Inc.,203 the Third Circuit affirmed

certification of a class that alleged breach of duties under ERISA. Defendant

Universal argued that the “named class representatives’ claims are not typical of the

class unless the named representatives invested in each of the challenged funds,

because, otherwise, the representatives would lack an incentive to litigate on behalf

of the class.”204 As the Court further described the defendants’ argument, “any

recovery stemming from those funds will not be allocated to the Named Plaintiffs’


  201
       NFL Players, 821 F.3d at 427.
  202
       See id. (“The concerns in Wal–Mart do not apply here because the [defendants]
allegedly injured [plaintiffs] through the same course of conduct.”); In re Cmty. Bank.,
795 F.3d at 399 (same). The cases cited by the defendants are inapposite. See Ferreras
v. Am. Airlines, Inc., 946 F.3d 178, 185 (3d Cir. 2019) (a “yes or no” answer to
“whether hourly-paid American employees at Newark airport are not being
compensated for all hours worked . . . tells us nothing about actual common work
habits”); Greco v. Grewal, 2020 WL 5793709, at *7 (D.N.J. Sept. 29, 2020)
(“Defendants’ conduct would be materially different as to each plaintiff”).
   203
       36 F.4th 124 (3d Cir. 2022).
   204
       Id. at 133.

                                             - 59 -
  010646-11/2030303 V1
Case 2:17-cv-00699-BRM-RLS          Document 731-10       Filed 02/20/24    Page 76 of 82
                                     PageID: 31314




accounts. . . . This lack of incentive, Universal insists, precludes a finding that the

Named Plaintiffs’ claims are typical of those of the class.”205

        But the Third Circuit stated that it “d[id] not find Universal’s incentive

argument persuasive.”206 The Court explained that “each participant who was

charged excessive fees when investing in any of the Plan’s funds can trace his or her

injury to the same practice—Universal’s alleged failure to properly consider expense

ratios when selecting and updating the Plan’s investment options.”207 The Court also

explained that “Universal’s alleged breach may have resulted in some funds charging

participants significantly higher fees than others. But these differences relate to

degree of injury and level of recovery. So long as the alleged cause of the injury

remains the same across all funds, ‘even relatively pronounced factual differences will

generally not preclude a finding of typicality.’”208

        Similarly here, the class representatives satisfy the typicality requirement for

both insured and uninsured class members because all of them trace their injuries to

the defendants’ same unlawful practices.

        Boley also refutes the defendants’ challenge to adequacy concerning those class



  205
      Id. at 133-34.
  206
      Id. at 134.
  207
      Id.
  208
      Id. (citation omitted).

                                             - 60 -
  010646-11/2030303 V1
Case 2:17-cv-00699-BRM-RLS            Document 731-10      Filed 02/20/24   Page 77 of 82
                                       PageID: 31315




members who bought “products that no proposed class representative purchased.”209

In Boley, the Third Circuit explained that “typicality and adequacy of representation

tend to merge because both look to potential conflicts.”210 Each class representative

here seeks to represent only class members who purchased insulin products in the

same state from the same defendant as that representative’s purchases. And neither

Dr. Rosenthal’s methodology for determining damages nor the plaintiffs’ theory of

unfairness and unconscionability differs as to the analog insulin products at issue.

Indeed, the class periods for the various drugs differ only because the methodology

and legal theories of unfairness and unconscionability remain consistent across them.

I.         A Rule 23(b)(2) class should be certified.

           The defendants raise three points in opposition to the certification of Rule

23(b)(2) classes. Each fails for distinct reasons. First, the Third Amended Complaint

disproves the defendants’ claim that the plaintiffs haven’t identified the injunctive

relief they seek. Plaintiffs have repeatedly asked this Court to “[e]njoin the

defendants from continuing to report artificially inflated list prices that do not

approximate their true net prices to CVS, Express Scripts, and OptumRx.”211 Nor


     209
       See Def. Br. at 97.
   210
       36 F.4th at 133 (citation and internal quotation marks omitted).
   211
       See, e.g., Third Amended Class Action Complaint [Dkt. 411], at 269 (“Demand
For Judgment.”). And although this Court dismissed the plaintiffs’ claim for
injunctive relief under RICO, it explained that the plaintiffs “seek an injunction ‘to


                                              - 61 -
     010646-11/2030303 V1
Case 2:17-cv-00699-BRM-RLS          Document 731-10       Filed 02/20/24    Page 78 of 82
                                     PageID: 31316




would such relief require the Court to become the nation’s insulin price regulator in

perpetuity, as defendants’ hyperbolize. It is specific and tied to objective standards,

i.e., the net prices offered to the largest PBMs.212 And it doesn’t raise dormant

Commerce Clause issues either, where the Court isn’t asked to specify the prices at

which insulin must be sold, but instead is asked to require the defendants to price

their insulin within the boundaries of state consumer protection laws.213

       Second, the industry refers to the defendants’ list prices as benchmarks because

they are the core input for all retail prices and thus affect the prices paid by all class



prevent [Defendants] from reporting benchmark prices [i.e., AWPs] that do not
approximate their true net prices,’” i.e., the net prices at which they sell their
insulins to more than 85 percent of the market (CVS, Express Scripts, and Optum).
Order dated Feb. 20, 2020 [Dkt. No. 304], at 6 (quoting Plaintiffs’ brief). Plaintiffs
seek the same injunction under State law.
   212
       See Remick v. City of Phil., 2022 WL 742707, at *13 (E.D. Pa. Mar. 11, 2022)
(“Although much about the specific contours of [the challenged] policies, and thus
the ‘exacting precision’ of the corresponding relief, has yet to be determined, the
Court nevertheless finds that Plaintiffs’ description of relief at this stage conforms
with Rule 23(b)(2)”) (citation omitted).
   The cases cited by Defendants are inapposite. See EpiPen, 2020 WL 1180550, at
*59 (rejecting a “vague, partially formulated request for injunctive relief”); In re
Processed Egg Prod. Antitrust Litig., 312 F.R.D. 124, 170 (E.D. Pa. 2015) (proposed
order was “intentionally incomplete”) (citation omitted).
   213
       Defendants cite Ass’n for Accessible Meds. v. Frosh, 887 F.3d 664, 673 (4th Cir.
2018), which held that the dormant Commerce Clause barred Maryland from
“specify[ing] the price at which goods may be sold beyond Maryland’s borders.” That
decision doesn’t mean this Court can’t enjoin behavior that violates State laws. See,
e.g., TitleMax of Del., Inc. v. Weissmann, 24 F.4th 230, 238 n.7 (3d Cir. 2022)
(dormant Commerce Clause doesn’t prohibit courts “decid[ing] choice-of-law
questions for contracts that cover multiple states,” or “‘applying one state’s law’ to
‘activities outside [that] state.’”) (citation omitted).

                                            - 62 -
  010646-11/2030303 V1
Case 2:17-cv-00699-BRM-RLS          Document 731-10      Filed 02/20/24   Page 79 of 82
                                     PageID: 31317




members. For this reason, the defendants’ position that the classes are insufficiently

cohesive for Rule 23(b)(2) relief fails. And the claims involved in the cases cited by

defendants bear no resemblance to this case.214

        Third, the defendants erroneously claim that the plaintiffs do not sufficiently

assert future harm, boasting that recent “developments” in their pricing practices

moot an injunction.215 But a court may certify a Rule 23(b)(2) class even if the

defendants’ actions merely threaten “one or a few” class members.216 Tellingly, the

defendants do not claim they stopped the conduct at issue in this suit. Instead, they

point to affordability programs, which only apply to a sliver of the class. Moreover,

whether those “developments” have any legal significance remains a question for the

merits stage, not class certification.

                                 III.    C ONCLUSION

As self-evident as it may seem, unfair practices laws center on the defendants’ unfair


  214
       See Gates v. Rohm & Haas Co., 655 F.3d 255, 269 (3d Cir. 2011) (proposed
medical monitoring trial hinged on “class members’ individual characteristics and
medical histories and to weigh the benefits and safety of a monitoring program”);
Carr v. Flowers Foods, Inc., 2019 WL 2027299, at *21 (E.D. Pa. May 7, 2019) (plan
“simply graft[ed] the (b)(2) proposal onto the (b)(3) analysis absent further advocacy
and analysis”); In re Domestic Drywall Antitrust Litig., 2017 WL 3700999, at *16 (E.D.
Pa. Aug. 24, 2017) (denying Rule 23(b)(2) certification where “[i]t would be unfair to
saddle some indirect purchasers who may have an easier time proving causation than
others with a binding negative judgment”).
   215
       See Def. Br. at 99-100.
   216
       Neale v. Volvo Cars of N. Am., LLC, 794 F.3d 353, 367 (3d Cir. 2015) (citation
and internal quotation marks omitted).

                                            - 63 -
  010646-11/2030303 V1
Case 2:17-cv-00699-BRM-RLS         Document 731-10      Filed 02/20/24   Page 80 of 82
                                    PageID: 31318




practices. This simple fact explains the suitability of classwide treatment. The claims

and supporting evidence will necessarily turn on common issues with common

answers—what defendants did and what defendants knew. Not that, in this case, the

parties dispute the defendants’ actions. Which makes the only remaining question

whether those actions violate state laws. After a years-long pursuit to hold the

defendants accountable, the American public still awaits a response to that question.

Legislatures, having granted jurors the responsibility of drawing the line between fair

and unfair conduct, have done their part to get an answer. It’s time for the jury to do

its part. For these reasons, the Court should grant the plaintiffs’ Motion for Class

Certification.




                                           - 64 -
  010646-11/2030303 V1
Case 2:17-cv-00699-BRM-RLS           Document 731-10        Filed 02/20/24    Page 81 of 82
                                      PageID: 31319




DATED: September 14, 2022                         Respectfully submitted,
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                                             - 65 -
  010646-11/2030303 V1
Case 2:17-cv-00699-BRM-RLS        Document 731-10      Filed 02/20/24   Page 82 of 82
                                   PageID: 31320



                               CERTIFICATE OF SERVICE

       I certify that on September 14, 2022, I caused this Reply Brief in Support of

Plaintiffs’ Motion for Class Certification to be served on ALL DEFENSE COUNSEL

OF RECORD via email.



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                                          - 66 -
  010646-11/2030303 V1
